 Case 2:17-bk-23812-BR              Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                    Main Document     Page 1 of 185



 1   D. EDWARD HAYS, #162507
     ehays@marshackhays.com
 2   CHAD V. HAES, #267721
     chaes@marshackhays.com
 3   MARSHACK HAYS LLP
     870 Roosevelt
 4   Irvine, California 92620
     Telephone: (949) 333-7777
 5   Facsimile: (949) 333-7778

 6   Attorneys for Chapter 7 Trustee,
     DAVID M. GOODRICH
 7
                                     UNITED STATES BANKRUPTCY COURT
 8
                     CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
 9

10    In re                                             Case No. 2:17-bk-23812-BR
11    BENJAMIN W. GONZALES,                             Chapter 7
12                        Debtor.                       TRUSTEE’S MOTION FOR ORDER:
                                                          1. APPROVING SUBORDINATION
13                                                           AGREEMENT BETWEEN THE
                                                             TRUSTEE AND BANK OF
14                                                           AMERICA;
                                                          2. APPROVING COMPROMISE
15                                                           BETWEEN TRUSTEE AND
                                                             COMERICA BANK; AND
16                                                        3. AUTHORIZING SALE OF REAL
                                                             PROPERTY (A) OUTSIDE THE
17                                                           ORDINARY COURSE OF
                                                             BUSINESS; (B) FREE AND CLEAR
18                                                           OF LIENS, CLAIMS, AND
                                                             ENCUMBRANCES; (C) SUBJECT TO
19                                                           OVERBID; AND (D) FOR
                                                             DETERMINATION OF GOOD FAITH
20                                                           PURCHASER UNDER 11 U.S.C.
                                                             §363(M);
21                                                        MEMORANDUM OF POINTS OF
                                                          AUTHORITIES; DECLARATIONS OF
22                                                        DAVID M. GOODRICH AND ROGELIO
                                                          SANCHEZ IN SUPPORT
23
                                                        Date: August 10, 2021
24                                                      Time: 2:00 p.m.
                                                        Ctrm: 1668
25

26   ///
27   ///
28   ///


     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                               Desc
                                    Main Document     Page 2 of 185



                                                  TABLE OF CONTEXTS


   1.    Introduction ................................................................................................................................1

   2.    Background Information ............................................................................................................2

         A.         Bankruptcy Filing, Schedules, and Statements ..............................................................2

         B.         The Property...................................................................................................................3

         C.         Comerica’s Prepetition Lawsuit .....................................................................................5

         D.         Carve-Out Agreement between the Trustee, Comerica, Debtor, and Ms.
                    Gonzales .........................................................................................................................5

         E.         Fox Lien Litigation ........................................................................................................6

         F.         Ms. Gonzales Lien Litigation ........................................................................................7

         G.         Marketing Efforts ...........................................................................................................8

         H.         The BofA Subordination Agreement .............................................................................8

         I.         The Comerica Settlement Agreement ............................................................................9

         J.         The Proposed Sale........................................................................................................10

   3.    The Sale ...................................................................................................................................11

         A.         Summary of Terms of Sale ..........................................................................................11

         B.         Subject to Overbid .......................................................................................................12

         C.         Compliance with U.S. Trustee Guidelines ...................................................................14

   4.    Legal Authority Regarding Sale ..............................................................................................14

         A.         There is a sound business justification for the Sale. ....................................................14

         B.         Notice is proper. ...........................................................................................................15

         C.         The proposed sale price is adequate.............................................................................15

         D.         The sale was made in good faith. .................................................................................16

         E.         The proposed treatment of liens is authorized under the Code. ...................................16

                    i.         The First DoT and Second DoT .......................................................................16

                    ii.        The Comerica Lien ..........................................................................................17

                                                                           i
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                                 Desc
                                    Main Document     Page 3 of 185



                    iii.       Ms. Gonzales’ Abstract ....................................................................................17

                    iv.        The Fox Liens ..................................................................................................19

         F.         The 14-day period for effectiveness of the sale order should be waived.....................20

         G.         The Buyers are good faith purchasers. .........................................................................20

         H.         Tax consequences should not preclude the sale. ..........................................................21

   5.    Legal Authority Regarding Subordination Agreement ............................................................22

         A.         Approval of the BofA Subordination Agreement will generate a substantial
                    return to creditors of the Estate in connection with the sale where no return
                    would otherwise be generated. .....................................................................................22

         B.         Approval of the BofA Subordination Agreement is in the best interest of the
                    Estate. ...........................................................................................................................22

                    i.         Probability of Success ......................................................................................23

                    ii.        Difficulties in Collection..................................................................................23

                    iii.       Complexity .......................................................................................................23

                    iv.        Expense, inconvenience, or delay ....................................................................23

         C.         Legal Authority Regarding Approval of the Compromise set forth in the
                    Comerica Agreement ...................................................................................................24

                    i.         Probability of Success ......................................................................................24

                    ii.        Difficulties in Collection..................................................................................24

                    iii.       Complexity .......................................................................................................25

                    iv.        Expense, inconvenience, or delay ....................................................................25

   6.    Conclusion ...............................................................................................................................25




                                                                          ii
Case 2:17-bk-23812-BR                 Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                           Desc
                                      Main Document     Page 4 of 185



                                                TABLE OF AUTHORITIES
   Cases

   In re A & C Properties,

     784 F.2d 1377, 1380-81 (9th Cir. 1986) ......................................................................................... 27

   In re Abbotts Dairies of Pennsylvania, Inc.,

     788 F.2d 143, 147 (3rd Cir. 1986) .................................................................................................. 24

   ATKN Company v. Guy F. Atkinson Company of California (In re Guy F. Atkinson Company),

      242 B.R 497, 502 (B.A.P. 9th Cir. 1999) ...................................................................................... 27

   Comerica Bank v. C-Pak Sea Foods et al.,

     Case No. BC640599 ......................................................................................................................... 6

   Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.),

     722 F.2d 1063, 1069 (2d Cir. 1983) ............................................................................................... 16

   In re Continental Air Lines, Inc.,

     780 F.2d 1223, 1226 (5th Cir. 1986) ........................................................................................ 16, 17

   EEOC v. Knox-Schillinger (In re Trans World Airlines, Inc.),

     322 F.3d 283, 290-91 (3d Cir. 2003) .............................................................................................. 22

   In re Ewell,

     958 F.2d 276, 281 (9th Cir. 1992) .................................................................................................. 24

   First Nat ‘I Bankv. Shedd,

     121 U.S. 74, 87 (1887) ................................................................................................................... 20

   FutureSource, LLC v. Reuters Ltd.,

     312 F.3d at 285, 286 ....................................................................................................................... 20

   In re Indus. Valley Refrigeration & Air Conditioning Supplies, Inc.,

     77 B.R. 15, 17 (Bankr. E.D. Pa. 1987) ..................................................................................... 18, 25

   In re Jolan,

     403 B.R. 866 (Bankr. W.D. WA 2009) .......................................................................................... 22

   John T Callahan & Sons Inc. v. Dykeman Elec. Co. Inc.,

     266 F.Supp.2d 208 (D. Mass. 2003) ............................................................................................... 21

                                                                        iii
Case 2:17-bk-23812-BR                   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                              Desc
                                        Main Document     Page 5 of 185



   Kham and Nate’s Shoes No. 2 v. First Bank,

      908 F.2d 1351, 1355 (7th Cir. 1990) .............................................................................................. 25

   In re KVN Corp., Inc.,

      514 B.R. 1 (9th Cir. BAP 2014) ................................................................................................. 1, 26

   In re Lahijani,

      325 B.R. 282, 289 (9th Cir. BAP 2005) ......................................................................................... 17

   In re Lionel Corp.,

      722 F.2d 1063, 1070 (2nd Cir. 1983) ............................................................................................. 16

   Martin v. Robinson,

      479 U.S. 854, 107 S.Ct. 189 (1989) ............................................................................................... 27

   In Mellen v. Moline Malleable Iron Works......................................................................................... 21

   Miners’ Bank of Wilkes-Barre v. Acker,

      66 F.2d 850 (3rd Cir. 1933) ............................................................................................................ 21

   Pelican Homestead v. Wooten (In re Gabel),

      61 B.R. at 667 ................................................................................................................................. 20

   Randolph v. Scranton, M & B RCo,

      4F.Supp. 861, 863 (D.C. PA. 1931) ............................................................................................... 20

   Ruby Valley Nat'l Bank v. Wells Fargo Delaware Trust Co.,

      2014 MT 16, 373 Mont. 374, 317 P.3d 174, 178 (Mont. 2014) ..................................................... 21

   Schmitt v. Ulrich (In re Schmitt),

      215 B.R. 417, 424 (B.A.P. 9th Cir. 1997) ...................................................................................... 27

   In re Slates,

      2012 WL 5359489 (9th Cir. BAP 2012) ........................................................................................ 16

   Spanish Peaks,

      872 F.3d at 900 (9th Cir. 2017) ...................................................................................................... 22

   In re Suchy,

      786 F.2d 900, 902 (9th Cir. 1985) .................................................................................................. 24


                                                                          iv
Case 2:17-bk-23812-BR                    Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                                Desc
                                         Main Document     Page 6 of 185



   W Broadway Trust Company v. Dill,

       17 F.2d 486 (3d Cir. 1927) ............................................................................................................. 21

   In re Walter,

       83 B.R. 14, 16 (9th Cir. BAP 1988) ............................................................................................... 17

   In re Wilde Horse Enterprises, Inc.,

       136 B.R. 830 (Bankr. C.D. Cal. 1991) ............................................................................... 16, 17, 18

   Williard v. Campbell,

       91 Mont. 493, 11 P.2d 782, 787 (Mont. 1932) ............................................................................... 22

   In re Yavoobian Enterprises LP,

       2012 WL 3818194 (Bankr. C.D. Cal. 2012) .................................................................................. 20



   Statutes

   § 363(f)(5) ........................................................................................................................................... 19

   11 U.S.C. §§ 101–1532 ......................................................................................................................... 2

   11 U.S.C. § 102(1) .............................................................................................................................. 14

   11 U.S.C. § 363 ................................................................................................................................... 14

   11 U.S.C. § 363(b)(1) ................................................................................................................... 14, 15

   11 U.S.C. § 363(f) ............................................................................................................... 9, 10, 16, 26

   11 U.S.C. § 363(f)(1) .................................................................................................................... 18, 19

   11 U.S.C. § 363(m) ....................................................................................................... 2, 11, 20, 27, 34

   11 U.S.C. § 510(c)(1)............................................................................................................................ 9

   11 U.S.C. § 510(c)(2)........................................................................................................ 1, 8, 9, 22, 31

   11 U.S.C. §§ 105 and 503(b) .............................................................................................................. 10

   11 U.S.C. §§ 363(f)(1), (f)(2), (f)(4), and (f)(5) ................................................................................. 17

   11 U.S.C. §507(a)(1)(C) .................................................................................................................. 4, 29

   131 U.S. 352, 367 (1889) .................................................................................................................... 18

   Cal. Civ. Code 701.630 ....................................................................................................................... 18

   CCP § 488.510 ................................................................................................................................ 4, 28

                                                                             v
Case 2:17-bk-23812-BR                     Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                                Desc
                                          Main Document     Page 7 of 185



   Section 363(b)(1) ................................................................................................................................ 14

   Section 363(f)(1) ........................................................................................................................... 17, 18

   Section 363(f)(2) ................................................................................................................................. 19

   Section 363(f)(5) ........................................................................................................................... 18, 19

   Section 363(m) .............................................................................................................................. 21, 26

   Rules

   6004(h) ................................................................................................................................................ 20

   F.R.B.P. 6004(f)(1) ............................................................................................................................. 14

   Fed. R. Bankr. Proc. 9019 ................................................................................................................... 22

   FRBP 6004(h) ..................................................................................................................................... 20

   Rule 6004(g) ......................................................................................................................................... 2




                                                                                 vi
 Case 2:17-bk-23812-BR         Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                               Main Document     Page 8 of 185



 1   TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY COURT

 2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED

 3   PARTIES:

 4   1.       Introduction
 5            A Chapter 7 trustee may enter a carveout agreement with a secured creditor with Court

 6   approval pursuant to the BAP’s holding in In re KVN Corp., Inc., 514 B.R. 1 (9th Cir. BAP 2014).
 7   There does not appear to be a similar rule for a subordination agreement voluntarily agreed to by a
 8   secured creditor. To provide notice to creditors and parties in interest, however, Trustee asks the
 9   Court to approve such an agreement given the benefit to be received by the Estate.
10            Specifically, Trustee seeks authority to sell the real property commonly known as 14930 Mar
11   Vista St. Whittier, California 90605 (“Property”) for $1,522,222 million. The Property is subject to a
12   first-in-priority deed of trust securing a claim in the approximate amount of $675,000, and a second-
13   in-priority deed of trust securing a claim in the approximate amount of $866,000. The total of the
14   liens is approximately $1.541 million (which amount is slightly in excess of the value of the
15   Property). Both deeds of trust are held by Bank of America, N.A. (“BofA”).
16            In order to provide a benefit to the estate from Trustee’s sale of the Property, BofA has
17   agreed to subordinate its claim in the amount of $300,000 plus all costs of sale including
18   commissions. The liens securing the subordinated amounts will be transferred to the Estate pursuant
19   to 11 U.S.C. § 510(c)(2). In other words, if approved, the Agreement will result in the Estate holding
20   the benefit of a portion of the liens in an amount sufficient to pay all costs of sale and provide
21   $300,000 to the Estate. The proposed subordination replaces and supersedes a previous carve-out
22   agreement with BofA in the amount of $100,000.
23            Separately, the proposed agreement supersedes a previous carve-out agreement with a junior
24   lienholder, Comerica Bank (“Comerica”), pursuant to which it would carve-out $150,000 from its
25   attachment/judgment lien in favor of the Estate. Given that BofA’s senior liens exceed the value of
26   the Property, and given that Comerica is currently engaged in litigation involving a separate pool of
27   disputed sales proceeds, it is highly uncertain whether the carveout from Comerica would provide
28   ///

                                              1
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                  Main Document     Page 9 of 185


 1 any benefit to the Estate. Comerica has also agreed to waive its alleged substantial administrative

 2 claim against the Estate for litigation that it has funded against other alleged lienholders.

 3            In summary, the proposed subordination agreement with BofA will provide a certain
 4 $300,000 net benefit to the Estate and replace previous agreements that, based on the value of the

 5 Property and amounts secured by senior liens, would only provide the Estate with a guaranteed

 6 $100,000 benefit. In Trustee’s business judgment, the proposed subordination agreement and

 7 compromised modifications to the prior agreements should be approved as being in the best interest

 8 of creditors. A true and correct copy of the subordination agreement with BofA is attached to the

 9 Declaration of David M. Goodrich (“Goodrich Decl.”) as Exhibit “1.” A true and correct copy of the

10 compromise agreement with Comerica is attached to the Goodrich Decl as Exhibit “2.”

11            Lastly, this Motion seeks authority for Trustee to sell the Property for $1,522,222 to the
12 proposed buyers free and clear of all liens, claims, and interests including the liens of BofA and

13 Comerica. Trustee further seeks an order determining that buyers are good faith purchasers entitled

14 to the protections of 11 U.S.C. § 363(m)1 and to eliminate the 14-day stay on the effectiveness of

15 any order approving the sale otherwise applicable pursuant to Rule 6004(g). This Court must decide

16 whether to approve the subordination agreement, the compromise agreement, and the proposed sale

17 in order for the Estate to realize $300,000 after payment of all costs of sale including commissions.

18 2.         Background Information
19            A.          Bankruptcy Filing, Schedules, and Statements
20            On November 8, 2017, Debtor filed a voluntary petition under Chapter 7 of Title 11 the
21 United States Code. On the same day, David M. Goodrich was appointed as the Chapter 7 trustee of

22 the Estate.

23            In his Schedule A/B, Debtor lists a community property interest in the Property. Debtor does
24 not claim, and has agreed not to claim, any exemption in the Property.

25

26
     1
27  Unless otherwise indicated, all Chapter and Section references are to the Bankruptcy Code,
   11 U.S.C. §§ 101–1532. All references to “Rule” refer to the Federal Rules of Bankruptcy
28 Procedure.

                                              2
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52               Desc
                                    Main Document    Page 10 of 185


 1            Debtor’s Schedule D reflects that the Property is encumbered by the following secured
 2 claims:

 3            a.          A first-in-priority deed of trust held by BofA (“First DoT”). BofA contends that the
 4                        amount secured by the First DoT is approximately $675,000;
 5            b.          A second-in-priority deed of trust held by BofA (“Second DoT”). BofA contends that
 6                        the amount secured by the Second DoT is approximately $866,000;
 7            c.          Three Family Law Attorney Real Property Liens (“FLARPLs”) in favor of Frank O.
 8                        Fox (“Fox Liens”) (executed only be Debtor’s non-debtor ex-spouse) securing claims
 9                        totaling $650,000; and
10            d.          An attachment/judgment lien held by Comerica Bank (“Comerica”) securing a claim
11                        in the approximate amount of $1,475,000 (“Comerica Lien”).
12 True and correct copies of Debtor’s Schedules A/B and D are collectively attached to the Goodrich

13 Decl. as Exhibit “3.”

14            On December 21, 2018, as Dk. No. 116, the Court entered an order granting the employment
15 of BK Global Real Estate Services and listing agent, Rogelio Sanchez of Keller Williams Downey

16 Realty (“Agent”) to facilitate a sale of the Property and carve-outs from BofA.

17            B.          The Property
18            Pursuant to a Preliminary Title Report (“PTR”), a true and correct copy of which is attached
19 to the Goodrich Decl. as Exhibit “4,” title to the Property is held by Benjamin William Gonzales and

20 Gretel Arend Gonzales, Trustees of The Gonzales Family Trust Dated July 26, 1999 (“Trust”).

21            The Property is commonly known as 14930 Mar Vista St. Whittier, California 90605 and is
22 legally described as:

23
                          Real property in the City of Whittier, County of Los Angeles, State of
24                        California, described as follows:
25                        THE NORTHWESTERLY 135 FEET OF LOT 13 OF TRACT 11571, IN
                          THE CITY OF WHITTIER, COUNTY OF LOS ANGELES, STATE OF
26                        CALIFORNIA, AS PER MAP RECORDED IN BOOK 243 PAGES 27 TO
                          29 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
27                        RECORDER OF SAID COUNTY.
28

                                              3
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR           Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                Main Document    Page 11 of 185


 1                        EXCEPT THEREFROM THE SOUTHWESTERLY 185 FEET
                          MEASURED ALONG THE NORTHWESTERLY LINE OF SAID LOT.
 2                        APN: 8149-030-005 and 8149-030-006
 3            Trustee has conducted a search of all known liens, claims, and interests in the Property. The
 4 PTR reflects that the Property is encumbered by the following secured claims (collectively, the

 5 “Liens”):

 6               A first-in-priority deed of trust in favor of BofA (doc #13-162626) (previously defined as
 7                First DoT);
 8               A second-in-priority deed of trust in favor of BofA (doc #XX-XXXXXXX) (previously
 9                defined as Second DoT);
10               A FLARPL in favor of Frank O. Fox (“Fox”) (doc #15-779609) (signed only by Debtor’s
11                ex-spouse) to secure an original indebtedness of $150,000 (previously included in the
12                definition of Fox Liens); and
13               A FLARPL in favor of Fox (doc #16-940681) (signed only by Debtor’s ex-spouse) to
14                secure an original indebtedness of $250,000 (previously included in the definition of Fox
15                Liens).
16            An abstract of judgment (doc #2019-0095204) was recorded by Comerica to secure the
17 amount of its claim (“Comerica Abstract”). After relief from stay, Comerica obtained entry of

18 judgment liquidating its claim in the amount of $1,120,658.30. Although the PTR does not reflect

19 recordation of the Comerica Abstract, the Trustee has received a recorded copy from Comerica,

20 which contends that the Comerica Abstract and its resulting judgment lien will relate back to the date

21 of the attachment lien pursuant to CCP § 488.510. A true and correct copy of the Comerica Abstract

22 is attached to the Goodrich Decl. as Exhibit “5.”

23            On September 4, 2018, Trustee and Gretel Gonzales (“Ms. Gonzales”) entered into a settlement
24 agreement pursuant to which Ms. Gonzales agreed to subordinate her priority domestic support

25 obligation to allowed administrative expenses of the Estate pursuant to 11 U.S.C. §507(a)(1)(C) in

26 exchange for the Estate releasing certain alleged claims against her (“DSO Agreement”). On

27 November 16, 2018 as Dk. No. 102, the Court entered an order granting the DSO Agreement.

28 / / /

                                              4
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                    Main Document    Page 12 of 185


 1            C.          Comerica’s Prepetition Lawsuit
 2            On November 14, 2016, Comerica filed a complaint against Debtor, Ms. Gonzales, The
 3 Gonzales Family Trust of July 26, 1999 (“Trust”), and Debtor’s affiliated business entities,

 4 commencing State Court case entitled Comerica Bank v. C-Pak Sea Foods et al., Case

 5 No. BC640599. See Comerica’s motion for relief from the automatic stay, request for judicial notice,

 6 and supporting exhibits, Dk. No. 15.

 7            On April 11, 2017, the State Court issued a prejudgment writ of attachment (“Writ”) in favor
 8 of Comerica and against all defendants. Id.

 9            On September 28, 2018, Comerica obtained a judgment against Debtor, Ms. Gonzales and
10 the Trust in the principal amount of $1,120,658.30 (“Comerica Claim”). See Exhibit “5.” Although

11 the PTR does not reflect the recordation of the Comerica Abstract, Comerica contends that it abstract

12 and the resulting judgment lien would relate back to date of the attachment. The lien arising from the

13 attachment and any subsequent judgment lien are collectively referred to as the “Comerica Liens.”

14            D.          Carve-Out Agreement between the Trustee, Comerica, Debtor, and
15                        Ms. Gonzales
16            On or around January 8, 2019, Trustee entered into a carve-out agreement and release with
17 Comerica, Debtor, and Ms. Gonzales (“Comerica Carve-Out Agreement”). The following is a

18 summary of the substantive terms of the Comerica Carve-Out Agreement that are relevant to this

19 Motion:2

20            a.          Comerica agreed to $150,000 carve-out in favor of the Estate from funds payable on
21 account of its liens;

22            b.          Comerica consents to the sale of the Property free and clear of the its liens, with such
23 liens to attach to the sales proceeds (after payment of the carve-out);

24            c.          To the extent the Fox Liens and any related abstracts (collectively, the “Disputed
25 Liens”) are not fully liquidated and/or resolved prior to the sale of the Property, Trustee shall seek a

26

27
   2
     All interested parties are advised to consult the Agreement for all terms and conditions. The
28 statements contained herein are a summary of the material terms and conditions only.

                                              5
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR                Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52               Desc
                                     Main Document    Page 13 of 185


 1 sale free and clear of the Disputed Liens, with such liens to attach to the sales proceeds with the

 2 same validity, priority, and extent;

 3            d.          Debtor and Ms. Gonzales, in their individual capacities and as trustees of the Trust
 4 (collectively, the “Gonzales Parties”), consent to the sale of the Property. The Gonzales Parties

 5 waive and release their respective rights, if any, to claim exemptions in the Property, the proceeds

 6 from the sales of the Property, or any carve-outs; and

 7            e.          With respect to the Property, the Trust is revoked and all real properties owned or
 8 held by the Trust constitute property of the Estate. A true and correct copy of the Comerica Carve-

 9 Out Agreement is attached to the Goodrich Decl. as Exhibit “6.”

10            On January 18, 2019 as Dk. No. 123, Trustee filed a motion for approval of compromise with
11 Comerica pursuant to FRBP 9019 (“Compromise Motion”).

12            On March 1, 2019 as Dk. No. 138, the Court entered an order granting the Compromise
13 Motion and approving the Comerica Carve-Out Agreement. The order is final and non-appealable.3

14            E.          Fox Lien Litigation
15            On March 22, 2019, Comerica filed an adversary complaint against The Law Firm of Fox
16 and Fox (“Fox Firm”), commencing adversary case no. 2:19-ap-01081-BR (“Fox Adversary”), and

17 alleging the following claims for relief:

18                       Objection to claim no. 10-1;
19                       Declaratory relief;
20                       Determination of amount of secured claim; and
21                       Injunctive relief.
22            On May 14, 2020, the Court entered summary judgment in favor of Comerica and against the
23 Fox Firm (“Judgement”). The Judgment reflects that the Fox Firm “does not hold and never held a

24 lien against either of the real properties located in Whittier, California, located at 14663 Carnell

25
     3
    Trustee acknowledges that the Comerica Carve-Out Agreement is subject to an ongoing dispute
26
   between Comerica and Fox, which includes claims for breach of contract and rescission. As
27 discussed in more detail below, Trustee takes the position that the Estate’s sale of the Property is not
   dependent on the enforceability of the Comerica Carve-Out Agreement, and that the Property may
28 be sold free and clear of all liens, claims, and interests regardless whether the agreement is deemed
   valid and enforceable.
                                              6
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                    Main Document    Page 14 of 185


 1 Street and 14930 Mar Vista Street” by virtue of the Fox Liens (FLARPLs) or any other document

 2 recorded against the Property in favor of the Fox Firm.

 3            F.          Ms. Gonzales Lien Litigation
 4            On June 25, 2019, Trustee and Ms. Gonzales entered into a stipulation re: withdrawal of
 5 abstract of judgment and release of lien (“Withdrawal Stipulation”) addressing the disposition of a

 6 prepetition abstract of judgment recorded by Fox on behalf of Ms. Gonzales (“Abstract”). The

 7 Withdrawal Stipulation provides “Gretel’s liens, claims, and interests, if any, against the Carnell

 8 Property shall attach to the proceeds from the sale of the Carnell Property” and authorizes the

 9 Trustee to record the release of Abstract (“Release”). The Withdrawal Stipulation does not provide

10 for Ms. Gonzales to retain any lien against the Property following recordation of the Release.

11            On July 2, 2019, the Court entered an order approving the Withdrawal Stipulation.
12            On July 5, 2019, the Trustee recorded the Release. A true and correct copy of the Release is
13 attached to the Goodrich Decl. as Exhibit “7.”

14            On or around October 31, 2019, Ms. Gonzales and Fox entered into a settlement, release, and
15 indemnification agreement (“Fox/Gonzales Agreement”). Among other things, the Fox/Gonzales

16 Agreement reflects that Ms. Gonzales assigned to Fox all of her interest and rights in this bankruptcy

17 case including Ms. Gonzales’ rights, if any, associated with her released Abstract and subordinated

18 DSO claim. A true and correct copy of the Fox/Gonzales Agreement is attached to the Goodrich

19 Decl. as Exhibit “8.”

20            On March 17, 2020, Comerica filed an adversary complaint against the Fox Firm and
21 Ms. Gonzales, commencing adversary case no. 2:20-bk-01065-BR (“Second Fox Adversary”), and

22 alleging the following claims for relief:

23                       Determination of validity of purported liens (challenging the released Abstract);
24                       Objection to Ms. Gonzales’ proof of claim; and
25                       Breach of the Comerica Carve-Out Agreement.
26            The Second Fox Adversary remains pending and is set for trial in August 2021.
27 / / /

28 / / /

                                              7
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR            Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                 Main Document    Page 15 of 185


 1            G.          Marketing Efforts
 2            The Agent has been marketing the Property since February 9, 2021. The Agent’s marketing
 3 efforts include listing the Property on the CRMLS Matrix. Declaration of Rogelio Sanchez

 4 (“Sanchez Decl.”), ¶ 7. To date, Agent has received approximately 55 calls from interested parties

 5 and the Property has been shown 17 times. Sanchez Decl., ¶ 8.

 6            Ultimately, the Agent procured an offer to purchase the Property from Raul Ruiz and Blanca
 7 Ruiz (“Buyers”) for $1,522,222. A true and correct copy of the proposed sale agreement and

 8 addendums (collectively, “PSA”) is attached to the Goodrich Decl. as Exhibit “9.” Buyers provided

 9 Trustee with proof of funds and have tendered an earnest money deposit in the amount of $76,112,

10 which escrow is holding in trust pending court approval and closing of the sale. The deposit shall be

11 refundable only if certain conditions to the sale are not satisfied or the Buyers are not the successful

12 bidder in the event overbids are received. Buyers’ offer is the highest and best offer received by the

13 Trustee.

14            H.          The BofA Subordination Agreement
15            In November 2018, to facilitate Trustee’s sale of the Property, BofA agreed to a $100,000
16 carve-out in favor of the Estate (“First BofA Agreement”). Pursuant to the First BofA Agreement,

17 BofA also agreed to pay 6% brokerage commissions and all standard costs of sale including title and

18 escrow fees related to the sale of the Property (“Costs of Sale”). On December 21, 2018, the Court

19 entered an order approving the First BofA Agreement.

20            Between the time that the Trustee initially sought to sell the Property to the present,
21 substantial additional administrative fees have been incurred through no fault of the Trustee. These

22 fees relate to the various litigation and disputes referenced above and to issues related to significant

23 repairs needed to the Property. To address these additional administrative expenses, Trustee has

24 negotiated a new agreement with BofA which amends and supersedes the First BofA Agreement.

25 Specifically, BofA’s Claim secured by the Second DoT will be subordinated in the amount of

26 $300,000 plus all Costs of Sale and treated as a general unsecured claim. The lien securing the

27 subordinated amount will be transferred to the Estate pursuant to 11 U.S.C. § 510(c)(2).

28 / / /

                                              8
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                    Main Document    Page 16 of 185


 1            This Motion seeks approval of the proposed settlement and subordination agreement (“BofA
 2 Subordination Agreement”) which provides in relevant part that:

 3            1.          BofA consents to the sale of the Property by the Trustee free and clear of its liens,
 4 claims, and interests under 11 U.S.C. § 363(f). BofA further acknowledges that all taxes arising out

 5 of or related to the sale of the Property including ad valorem property taxes and documentary

 6 transfer taxes, but not any federal or state income tax owed by Debtor or Debtor’s bankruptcy estate,

 7 has priority over its First DoT and Second DoT.

 8            2.          BofA’s claim secured by the Second DoT will be subordinated in the amount of
 9 $300,000 plus all costs of sale including commissions and treated as a general unsecured claim under

10 11 U.S.C. § 510(c)(1). The lien securing the subordinated amount will be transferred to the Estate

11 pursuant to 11 U.S.C. § 510(c)(2). Except for the lien securing the subordinated amount which will

12 be paid to the Estate prior to any monies being paid to BofA on account of its non-subordinated

13 claims secured by the Second DoT (“Estate Proceeds”), BofA shall retain its liens which shall attach

14 to the proceeds of sale with the same validity, priority, and extent and shall be paid by escrow

15 directly to BofA upon closing. All funds received by BofA upon closing will reduce its claim which

16 shall be deemed allowed.

17            3.          After applicable property taxes, the First DoT, and Costs of Sale are paid from
18 escrow, the Estate shall receive a total net payment of $300,000 (“Estate Proceeds”) from escrow

19 regardless of whether sufficient funds exist to pay the remaining balance due and owing to BofA on

20 account of the Second DoT.

21            4.          BofA’s proof of claim (“BofA Claim”) shall be deemed allowed and the First DoT
22 and Second DoT deemed valid and unavoidable. Trustee waives and releases all claims of the Estate,

23 creditors, and other parties to object to the BofA Claim and or avoid its Liens. A true and correct

24 copy of the BofA Subordination Agreement is attached to the Goodrich Decl. as Exhibit “1.”

25            I.          The Comerica Settlement Agreement
26            Upon learning of the BofA Subordination Agreement described above, Comerica requested
27 that the Trustee relieve Comerica of its obligation to pay the $150,000 to the Estate (“Comerica

28 Carve-Out Obligation”) for the following reasons: (1) Comerica has incurred much higher than

                                              9
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                    Main Document    Page 17 of 185


 1 expected fees in prosecuting the two adversary cases that it was required to prosecute under the

 2 agreement with the Estate; (2) such substantial fees may be recoverable as an administrative claim

 3 against the Estate; (3) Comerica believed that BofA would substantially reduce the debt associated

 4 with the Second DoT, thus resulting in a payout to Comerica from the sale of the Property, rather than

 5 subordinate the debt for the exclusive benefit of the Estate; (4) given the amount owed to BofA and the

 6 value of the Property, Comerica’s liens are out of the money and there would be no funds from which

 7 to pay a carve-out; (5) the Estate may not be able to sell the Property free and clear of Comerica’s liens

 8 without its consent; and (6) it would be inequitable for the Estate to receive an additional $200,000

 9 from BofA while Comerica continues to prosecute adversary cases that will not result in Comerica’s

10 liens being paid from the sale of the Property.

11            Further, Comerica has threatened to oppose any motion for approval of the PSA should the
12 Trustee continue to pursue the Comerica Carve-Out Obligation.

13            As such, on July 14, 2021, Comerica and the Trustee entered into a settlement agreement
14 (“Comerica Compromise Agreement”) providing in relevant part:

15            1.          Comerica consents to the sale of the Property by the Trustee free and clear of all its
16 liens, claims, and interests under 11 U.S.C. § 363(f);

17            2.          Comerica waives and releases any and all potential administrative expense claims
18 against the Estate under 11 U.S.C. §§ 105 and 503(b); and

19            3.          The Trustee, on behalf of the Estate, waives and releases the Estate’s rights in the
20 Comerica Carve-Out Obligation, and Comerica shall be released of any liability arising from the

21 Comerica Carve-Out Obligation. A true and correct copy of the entire Comerica Compromise

22 Agreement is attached to the Goodrich Decl. as Exhibit “2.”

23            J.          The Proposed Sale
24            Trustee has determined that it is in the best interest of the Estate to proceed with the existing
25 sale of the Property to the Buyers for the sum of $1,522,222. This Motion seeks approval for the

26 Trustee to sell the Property on substantially the terms and conditions set forth in the PSA and reflects

27 the material terms agreed to between the Buyers and the Trustee. The parties may agree on minor,

28 non-material changes to the PSA before the hearing on this Motion. The Motion also seeks an order

                                              10
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                    Main Document    Page 18 of 185


 1 determining that the Buyers are good faith purchasers entitled to the protections of 11 U.S.C.

 2 § 363(m). As discussed more fully below, Buyers do not have any connection or relationship with

 3 the Trustee or the Debtor.

 4            Trustee proposes to sell the Property free and clear of all liens including the disallowed Fox
 5 Liens and distribute the sale proceeds in the following manner:

 6                                        Description                                 Amount
 7          Sale Price                                                                  $1,522,222
            Estimated Real Property Taxes                                                 ($10,000)
 8
            Brokers’ Commissions (6% of sales price)                                      ($91,333)
 9          Title, Escrow, and other Closing Costs (est. 2% of sales price)               ($30,444)
10          First Deed                                                                  ($674,365)

11          Second DoT - Subordinated Portion to the Estate                             ($300,000)
            Second DoT – Non-Subordinated Portion to BofA (amount is                    ($416,080)
12          estimated and could be more or less depending on the tax
            liability, the exact amounts due to senior lienholders and the
13          precise amount of costs of sale)
14 3.         The Sale
15            A.          Summary of Terms of Sale
16            THIS IS A SUMMARY ONLY AND DOES NOT CONSTITUTE PART OF AN
17 AGREEMENT BETWEEEN THE PARTIES. THE SALE TO THE BUYERS WILL BE IN

18 ACCORDANCE WITH THE TERMS OF THE SALE AGREEMENT AND OTHER ESCROW

19 INSTRUCTIONS EXECUTED BETWEEN THE PARTIES.

20            The proposed terms of sale include the following:
21            1.          Subject to court approval, Trustee has accepted Buyers’ offer to purchase the
22 Property for $1,522,222 free and clear of all liens, claims, and interests. Buyers have tendered an

23 earnest money deposit in the amount of $76,112, which escrow will hold in trust pending court

24 approval of the sale.

25            2.          The proposed sale is subject to overbids as set forth below. The purchase price shall
26 be refundable only if the conditions to the sale are not satisfied or the Buyers are not the successful

27 bidder in the event overbids are received.

28 / / /

                                              11
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                    Main Document    Page 19 of 185


 1            3.          The proposed sale shall be “as is,” “where is,” “with all faults,” and with no
 2 warranties or warranties. Trustee will transfer title to the Property by grant deed.

 3            B.          Subject to Overbid
 4            While Trustee has accepted the offer made by Buyers, he also has a duty to obtain the best
 5 possible price for the Property.4 Accordingly, Trustee requests that the Court authorize him to

 6 implement an overbid procedure on the following terms.

 7            Any potential overbidder is encouraged to obtain a copy of the Motion and contact Trustee’s
 8 counsel prior to the hearing. The Property will be sold subject to overbid at an open auction

 9 (“Auction”) to be conducted during the hearing on this Motion. Trustee has established the following

10 proposed overbid procedures which shall govern any bidding unless otherwise agreed to or ordered

11 by the Court:

12            1.          Any person or entity that is interested in purchasing the Property (“Bidders”) must
13 serve Trustee and his counsel with an initial bid in conformance with these procedures (“Overbid”),

14 such that any Overbid is actually received no later than the commencement of the auction (“Bid

15 Deadline”);

16            2.          Each party (including Buyers) interested in participating as an overbidder must be
17 present either physically or telephonically at the hearing on the Motion or represented by an

18 individual or individuals with the authority to participate in the overbid process;

19            3.          Any entity that submits a timely, conforming Overbid shall be deemed a “Qualified
20 Bidder” and may bid for the Property at the hearing. Unless otherwise permitted by the Court, any

21 entity that fails to submit a timely, conforming bid shall be disqualified from bidding for the

22 Property;

23            4.          Trustee, subject to Court review and the rights of a Bidder or party in interest to raise
24 an issue with the Court, shall have sole authority to determine whether a party is a Qualified Bidder;

25

26

27   4
     While overbids will not result in a corresponding increase in the subordinated amount to be paid to
28 the Estate, the Trustee nevertheless seeks approval of the sale subject to overbid because an auction
   may result in additional recoveries for creditors whose debts are secured by the Property.
                                              12
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                    Main Document    Page 20 of 185


 1            5.          Any Overbid must remain open until the conclusion of the Auction of the Property to
 2 be held at the hearing on this Motion;

 3            6.          Any Overbid must provide for a minimum purchase price of at least $1,530,000;
 4            7.          Any Overbid must be for the Property “as is,” “where is,” and “with all faults,” and
 5 shall not contain any financing, due diligence, or any other contingency and shall not include any

 6 request for a break-up fee, termination fee, or other expense reimbursement;

 7            8.          Any Overbid must be accompanied by a deposit of at least $76,112 in certified funds,
 8 which funds shall be nonrefundable if the bid is determined by the Court to be the highest and best

 9 bid for the Property (“Best Bid”), and proof satisfactory to the Trustee that such bidder has sufficient

10 funds to complete the sale;

11            9.          Any Overbid must be made by a person or entity who has completed its due diligence
12 review of the Property and is satisfied with the results thereof;

13            10.         If Trustee receives a timely, conforming Overbid for the Property, the Court will
14 conduct an auction of such property during the hearing in which all Qualified Bidders may

15 participate. The Auction shall be governed by the following procedures: (a) all Qualified Bidders

16 shall be deemed to have consented to the core jurisdiction of the Bankruptcy Court and to have

17 waived any right to jury trial in connection with any disputes relating to the Auction or the sale of

18 the Property; (b) after the initial overbid, the minimum bidding increment during the Auction shall

19 be $5,000; (c) bidding shall commence at $1,535,000 ($5,000 over any initial qualifying overbid);

20 and (d) the Trustee will determine which of the bids is the best bid subject to the Court’s approval

21 (“Successful Bidder”);

22            11.         The Successful Bidder must pay, at the closing, all amounts reflected in the Best Bid
23 in cash and such other consideration as agreed upon; and

24            12.         Each party (including the Buyers) must pay the full amount of the successful bid to
25 the Trustee within the time period set forth in the PSA or otherwise within 15 days from the date of

26 the order approving the Motion becomes a final order, whichever is earlier. In the event that the

27 Buyers are not the successful bidder for the Property, the successful bidder shall then become the

28 buyer under the same terms and conditions as set forth in the escrow documents. Furthermore, if the

                                              13
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                   Desc
                                  Main Document    Page 21 of 185


 1 successful bidder cannot deliver the balance of the sale price within the above-referenced period, the

 2 successful bidder’s deposit shall become non-refundable.

 3            Trustee believes the foregoing overbid terms are reasonable under the circumstances of this
 4 case and will ensure that the price ultimately received for the Property will be the highest and best

 5 price. On the basis of the foregoing considerations, the Trustee believes that the proposed sale is fair

 6 and reasonable and will ensure that the Estate realizes the highest possible sales price for the

 7 Property.

 8            C.          Compliance with U.S. Trustee Guidelines
 9            In compliance with FRBP 6004(f)(1), Trustee will file a copy of the escrow closing statement
10 and serve it on interested parties including the Office of the United States Trustee.

11 4.         Legal Authority Regarding Sale
12            Under Section 363, a trustee is empowered to sell assets of the estate “after notice and a
13 hearing.” 11 U.S.C. § 102(1). The standards for approval of a sale pursuant to Section 363(b)(1)

14 require that the proponent of the sale establish that: “(1) a sound business purpose exists for the sale;

15 (2) the sale is in the best interest of the estate, i.e., the sale price is fair and reasonable; (3) notice to

16 creditors was proper; and (4) the sale is made in good faith.” In re Slates, 2012 WL 5359489 (9th

17 Cir. BAP 2012) (unpublished) (citing In re Wilde Horse Enters., Inc., 136 B.R. 830, 841 (Bankr.

18 C.D. Cal. 1991); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063,

19 1069 (2d Cir. 1983)). As discussed more fully below, the Trustee’s proposed sale of the Property

20 meets each of these requirements.

21            A.          There is a sound business justification for the Sale.
22            The decision to sell property out of the ordinary course of a debtor’s business must be based
23 on the reasonable business judgment of the debtor. In re Continental Air Lines, Inc., 780 F.2d 1223,

24 1226 (5th Cir. 1986); In re Lionel Corp., 722 F.2d 1063, 1070 (2nd Cir. 1983). In determining

25 whether the business purpose is justified under Section 363(b)(1), bankruptcy courts apply a flexible,

26 case-by-case approach. See In re Walter, 83 B.R. 14, 19 (9th Cir. BAP 1988) (“the bankruptcy judge

27 should consider all salient factors pertaining to the proceeding and, accordingly, act to further the

28 diverse interests of the debtor, creditors and equity holders, alike.”) (quoting In re Continental Air

                                              14
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52               Desc
                                  Main Document    Page 22 of 185


 1 Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986)). The court should approve a sale of property under

 2 Section 363(b)(1) if the trustee has established a sound business purpose for the proposed

 3 transaction. In re Walter, 83 B.R. 14, 16 (9th Cir. BAP 1988); In re Wilde Horse Enterprises, Inc.,

 4 136 B.R. 830 (Bankr. C.D. Cal. 1991). The business judgment standard is deferential. In re Lahijani,

 5 325 B.R. 282, 289 (9th Cir. BAP 2005) (“Ordinarily, the position of the trustee is afforded

 6 deference, particularly where business judgment is entailed in the analysis or where there is no

 7 objection.”).

 8            The facts reflect that the Trustee’s decision to sell the Property is supported by sound
 9 business judgment because the BofA Subordination Agreement, which will net the Estate $300,000,

10 requires the sale. As such, the sale will generate significant cash proceeds for the Estate. Further, the

11 sales price is fair based upon the extensive marketing efforts on the Property, listing prices of

12 comparable parcels of real property, the Agent’s inspection of the Property, and the current condition

13 of the Property. Based on all of this information, the Trustee believes the sale of the Property will

14 ultimately facilitate the Estate receiving its agreed-upon $300,000 in subordinated funds.

15            B.          Notice is proper.
16            The Trustee must give notice of any sale of property of the estate. See 11 U.S.C. § 363(b)(1).
17 In the instant matter, the Trustee will give notice to Debtor, the United States Trustee, all known

18 creditors, and any other prospective buyers. Service of the Motion is proper and constitutes adequate

19 and reasonable notice. Moreover, notice of the sale and bidding procedures will be published on the

20 Website for the U.S. Bankruptcy Court for the Central District of California.

21            C.          The proposed sale price is adequate.
22            The price is fair, reasonable, and the Agent believes that it conforms with the current market
23 of comparable sales. The Buyer’s offer of $1,522,222 is the highest and best offer on the Property,

24 based upon the marketing efforts of Agent, and it will garner a substantial distribution to the Estate.

25 The proposed overbid procedures will ensure that the Estate realizes the highest possible sales price

26 for the Property. As a result, the price is reasonable and in the best interests of the Estate.

27 / / /

28 / / /

                                              15
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR                Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                   Desc
                                     Main Document    Page 23 of 185


 1            D.          The sale was made in good faith.
 2            “Good faith encompasses fair value, and further speaks to the integrity of the transaction.” In
 3 re Wilde Horse Enterprises, Inc., 136 B.R. 830, 842 (Bankr. C.D. Cal. 1991) (internal quotation

 4 marks omitted). Bad faith includes collusion between buyer and seller or otherwise taking unfair

 5 advantage of other potential purchasers, such as a collusive insider transaction. Id.; see also In re

 6 Indus. Valley Refrigeration & Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa.

 7 1987). The sale of the Property was negotiated at arms’ length. There is no fraud, collusion, or

 8 insider transactions present here, and the Buyer has received no special treatment or consideration.

 9 Moreover, the Property has been actively marketed, the Auction will be properly publicized on the

10 Court’s Website, and the Trustee has accepted the highest and best offer. As a result, the sale is

11 made in good faith.

12            E.          The proposed treatment of liens is authorized under the Code.
13            The Trustee seeks authority to complete the sale free and clear of all liens, claims, and
14 interests with the liens to attach to the proceeds. Section 363(f) allows a trustee to sell property of

15 the bankruptcy estate “free and clear of any interest in such property of an entity,” if any one of the

16 following five conditions is met:

17                        (1) Applicable non-bankruptcy law permits a sale of such property free
                              and clear of such interest;
18                        (2) Such entity consents;
                          (3) Such interest is a lien and the price at which such property is to be
19                            sold is greater than the aggregate value of all liens on such property;
                          (4) Such interest is in bona fide dispute; or
20                        (5) Such entity could be compelled, in a legal or equitable proceeding,
                              to accept money satisfaction of such interest.
21

22 11 U.S.C. § 363(f).

23                          i.   The First DoT and Second DoT
24            BofA consents to the proposed sale pursuant to the BofA Subordination Agreement. As such,
25 the sale should be approved free and clear of the First and Second Deeds of BofA under 11 U.S.C.

26 § 363(f)(2).

27 / / /

28 / / /

                                              16
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR              Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52             Desc
                                   Main Document    Page 24 of 185


 1                         ii.   The Comerica Lien
 2            Comerica consents to the proposed sale pursuant to the Comerica Carve-Out Agreement and
 3 the Comerica Compromise Agreement. Therefore, the sale should be approved free and clear of the

 4 Abstract under 11 U.S.C. § 363(f)(2).

 5                        iii.   Ms. Gonzales’ Abstract
 6            Ms. Gonzales released the Abstract, which Release was recorded by the Trustee nearly two
 7 years ago. As such, neither Ms. Gonzales nor Fox (as assignee) possesses any lien against the

 8 Property pursuant to the Abstract. In an abundance of caution, however, and if the Court somehow

 9 determines that the Abstract attaches to the Property, the sale free and clear should be approved as to

10 the Abstract under 11 U.S.C. §§ 363(f)(1), (f)(2), (f)(4), and (f)(5).

11            First, although Ms. Gonzales’ consent is not required (she released the Abstract and assigned
12 her rights to Fox), Ms. Gonzales has already consented to the proposed sale pursuant to the

13 Comerica Carve-Out Agreement. Further, Ms. Gonzales and Fox will be deemed to have consented

14 to the proposed sale absent an objection. In re Yavoobian Enterprises LP, 2012 WL 3818194 (Bankr.

15 C.D. Cal. 2012); FutureSource, LLC v. Reuters Ltd., 312 F.3d at 285, 286; Pelican Homestead v.

16 Wooten (In re Gabel), 61 B.R. at 667. Therefore, the sale should be approved free and clear of the

17 Abstract under 11 U.S.C. § 363(f)(2).

18            Second, the sale should be free and clear of the Abstract under 11 U.S.C. § 363(f)(4) because
19 the Abstract is in bona fide dispute. Specifically, it is unclear if the Abstract was properly recorded

20 and if it resulted in a duly-perfected lien on the Property, as it does not appear on the PTR.

21 Moreover, the Abstract is subject to direct legal challenge in the Second Fox Adversary. Thus, the

22 Abstract is in bona fide dispute.

23            Third, the sale should be free and clear of the Abstract under section 363(f)(1). The language
24 of Section 363(f)(1) allows a sale to proceed, free and clear of liens, if the power to sell free and

25 clear exists outside of bankruptcy in another body of law. The existence of this power is

26 unquestionable under both federal and state law. It is well established that property can be sold free

27 and clear of liens in a federal receivership action. See, e.g., First Nat ‘I Bankv. Shedd, 121 U.S. 74,

28 87 (1887); Randolph v. Scranton, M & B RCo, 4F.Supp. 861, 863 (D.C. PA. 1931) aff’d Miners’

                                              17
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR           Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                Main Document    Page 25 of 185


 1 Bank of Wilkes-Barre v. Acker, 66 F.2d 850 (3rd Cir. 1933) (“It is clear that this court has the

 2 jurisdiction and power to order such a sale.”); W Broadway Trust Company v. Dill, 17 F.2d 486 (3d

 3 Cir. 1927) (“In receivership proceedings, federal court, under general equity authority, has power

 4 and jurisdiction to order a public sale of real estate, free and divested of liens, over objection of

 5 trustee under mortgage.”); see also, John T Callahan & Sons Inc. v. Dykeman Elec. Co. Inc., 266

 6 F.Supp.2d 208 (D. Mass. 2003). In Mellen v. Moline Malleable Iron Works, the U.S. Supreme Court

 7 stated that “the removal of alleged liens or encumbrances upon property, the closing up of affairs of

 8 insolvent corporations, and the administration and distribution of trust funds, are subjects over which

 9 courts of equity have general jurisdiction.” 131 U.S. 352, 367 (1889).

10            The Ninth Circuit Court of Appeals held that where state foreclosure law would eliminate a
11 junior interest, the Trustee may sell property free and clear of such interest.

12            “Second, we emphasize that section 363(f) authorizes free-and-clear sales only in
              certain circumstances. The bankruptcy court did not specify which circumstance
13            justified the sale in this case, stating only that Pinnacle and Opticom ‘d[id] not
              dispute that at least one provision of § 363(f) was satisfied.’ We, on the other hand,
14            focus on 11 U.S.C. § 363(f)(1), which authorizes a sale if ‘applicable nonbankruptcy
              law permits sale of such property free and clear of such interest.’ 11 U.S.C.
15            § 363(f)(1).
                                                        …
16            Under Montana law, a foreclosure sale to satisfy a mortgage terminates a subsequent
              lease on the mortgaged property. See Ruby Valley Nat'l Bank v. Wells Fargo
17            Delaware Trust Co., 2014 MT 16, 373 Mont. 374, 317 P.3d 174, 178 (Mont. 2014);
              Williard v. Campbell, 91 Mont. 493, 11 P.2d 782, 787 (Mont. 1932). SPH’s
18            bankruptcy proceeded, practically speaking, like a foreclosure sale—hardly surprising
              since its largest creditor was the holder of the note and mortgage on the property.
19            Indeed, had SPH not declared bankruptcy, we can confidently say that there would
              have been an actual foreclosure sale. Such a sale would have terminated the Pinnacle
20            and Opticom leases. Section 363(f)(1) does not require an actual or anticipated
              foreclosure sale. It is satisfied if such a sale would be legally permissible.”
21

22 See, e.g., Spanish Peaks, 872 F.3d at 900 (9th Cir. 2017). It is well settled that a property can be sold

23 free and clear of liens pursuant to California’s judicial foreclosure laws. Cal. Civ. Code 701.630.

24 Since the power to sell free and clear exists under external sources of law, this power is vested in this

25 Court under Section 363(f)(1).

26            Finally, the sale should be approved free and clear pursuant to Section 363(f)(5) because
27 Ms. Gonzales and Fox could be compelled, in a legal or equitable proceeding, to accept a money

28 satisfaction of her alleged secured interest. See In re Jolan, 403 B.R. 866 (Bankr. W.D. WA 2009).

                                              18
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52             Desc
                                  Main Document    Page 26 of 185


 1 Courts have held that Section 363(f)(5) applies whenever an interest in the property to be sold is of a

 2 nature that such interest could be satisfied with money (as opposed to specific performance being the

 3 only remedy). See, e.g., EEOC v. Knox-Schillinger (In re Trans World Airlines, Inc.), 322 F.3d 283,

 4 290-91 (3d Cir. 2003) (because employees’ claims were “subject to monetary valuation,” debtor’s

 5 assets could be sold free and clear of successor liability for such claims under § 363(f)(5)). Here,

 6 Ms. Gonzales and Fox could be compelled to accept payment for the Abstract in return for the

 7 release of the Abstract through either a federal receivership proceeding, a California receivership

 8 proceeding, a hypothetical foreclosure sale by one of the lienholders, or a cramdown. Therefore, the

 9 Trustee seeks approval to sell the Property free and clear of the Abstract pursuant to 11 U.S.C.

10 § 363(f)(5).

11                        iv.   The Fox Liens
12            The Court has entered a Judgment reflecting that the Fox Firm “does not hold and never held
13 a lien against either of the real properties located in Whittier, California, located at 14663 Carnell

14 Street and 14930 Mar Vista Street” by virtue of the Fox Liens (FLARPLs) or any other document

15 recorded against the Property in favor of the Fox Firm. As such, the Fox Liens are invalid as to the

16 Property and do not need to be addressed here.

17            However, in an abundance of caution, and if the Court somehow determines that Fox or the
18 Fox Firm has an interest in the Property pursuant to the Fox Liens, the sale free and clear should be

19 approved: (1) under 11 U.S.C. § 363(f)(4) because the Trustee and Comerica dispute the validity,

20 priority, and extent of the Fox Liens; (2) under 11 U.S.C. § 363(f)(1) because the power to sell free

21 and clear exists outside of bankruptcy in another body of law; and (3) under 11 U.S.C. § 363(f)(5)

22 because Fox could be compelled, in a legal or equitable proceeding, to accept a money satisfaction

23 of his alleged secured interest. In the absence of any objection, the Trustee also seeks to sell free and

24 clear under Section 363(f)(2).

25 / / /

26 / / /

27 / / /

28 / / /

                                              19
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                    Main Document    Page 27 of 185


 1            F.          The 14-day period for effectiveness of the sale order should be
 2                        waived.
 3            Rule 6004(h) provides that “An order authorizing the use, sale, or lease of property other
 4 than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

 5 orders otherwise.” FRBP 6004(h). The legislative history to Rule 6004 provides:

 6                        The court may, in its discretion, order that Rule 6004(g) [now 6004(h)]
                          is not applicable so that the property may be used, sold, or leased
 7                        immediately in accordance with the order entered by the court.
 8                        Alternatively, the court may order that the stay under Rule 6004(g) [now
                          6004(h)] is for a fixed period less than 10 [now 14] days.
 9

10            Given the notice and full opportunity to object, respond, or participate in overbid procedures

11 presented by this Motion, the Trustee believes that, unless there are objections to the Motion that are

12 not consensually resolved, it is appropriate and good cause exists for the Court to order that Rule

13 6004(h) is not applicable, and the Property may be sold immediately. Accordingly, the Trustee

14 requests that the Court authorize the sale to be effectuated immediately upon entry of the order

15 approving this Motion.

16            G.          The Buyers are good faith purchasers.
17            The proposed Buyers are good faith purchasers entitled to the protections of 11 U.S.C.

18 § 363(m). “Though the Bankruptcy Code and Rules do not provide a definition of good faith, courts

19 generally have followed traditional equitable principles in holding that a good faith purchaser is one

20 who buys ‘in good faith’ and ‘for value.’” In re Ewell, 958 F.2d 276, 281 (9th Cir. 1992) (citing In

21 re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3rd Cir. 1986)). Lack of good faith may

22 be shown by “fraud, collusion between the purchaser and other bidders or the trustee, or an attempt

23 to take grossly unfair advantage of other bidders.” In re Ewell, 958 F.2d 276, 281 (9th Cir. 1992)

24 (quoting In re Suchy, 786 F.2d 900, 902 (9th Cir. 1985)); see also In re Indus. Valley Refrigeration

25 & Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa. 1987) (good faith requirement

26 “focuses principally on the element of special treatment of the debtor’s insiders in the sale

27 transaction”).

28 / / /

                                              20
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                  Main Document    Page 28 of 185


 1            A good faith purchaser of property is protected from the effects of reversal of the order
 2 authorizing a sale as long as the trial court finds that the purchaser acted in good faith and the

 3 aggrieved party fails to obtain a stay of the sale order. In essence, the purpose of Section 363(m) is

 4 to disable courts from backtracking on promises with respect to bankruptcy sales in the absence of

 5 bad faith. Kham and Nate’s Shoes No. 2 v. First Bank, 908 F.2d 1351, 1355 (7th Cir. 1990).

 6            In this case, the proposed sale is not predicated on fraud or collusion, and the sale is not to an
 7 insider, nor have any insiders received any special treatment or consideration. The Property was

 8 marketed on the Multiple Listing Service and the proposed Buyers presented the highest and best

 9 offer. Based upon the foregoing, the Trustee submits that the Motion satisfies the standards for

10 approval of a sale of the Property outside of the ordinary course of business pursuant to Section

11 363(b), and good cause exists to make a finding that the Buyers or any overbidders are purchasing

12 the Property in “good faith” pursuant to Section 363(m).

13            H.          Tax consequences should not preclude the sale.
14            Trustee intends to pay real property taxes in full from the sale of the Property.
15            With regard to other taxes which may arise from a sale, there are several potential outcomes
16 and Trustee has not yet determined the exact tax liability that could be incurred by the Estate from a

17 sale. The different outcomes depend primarily on: (1) the timing the sale of the Property; (2) when

18 administrative fees and costs are paid by the Estate; and (3) the extent of such fees and costs. Trustee

19 has retained Sam Leslie, of LEA Accountancy, LLP to provide tax advice and conduct further

20 analysis regarding potential tax implications. Trustee believes that the Estate will have sufficient

21 funds to pay any such taxes.

22 / / /

23 / / /

24 / / /

25 / / /

26 / / /

27 / / /

28 / / /

                                              21
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR              Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                      Desc
                                   Main Document    Page 29 of 185


 1 5.          Legal Authority Regarding Subordination Agreement
 2             A.         Approval of the BofA Subordination Agreement will generate a
 3                        substantial return to creditors of the Estate in connection with the
 4                        sale where no return would otherwise be generated.
 5             The BofA Subordination Agreement provides that BofA will subordinate5 a portion of its
 6 claim secured by the Second DoT, with the lien otherwise securing the subordinated claim to be

 7 trsferred to the Estate pursuant to 11 U.S.C. § 510(c)(2). The amount of the claim to be subordinated

 8 is equal to: (1) $300,000; plus (2) all the Costs of Sale. If approved, the BofA Subordination

 9 Agreement will allow the Property to be sold with $300,000 of unencumbered funds to be paid to the

10 Estate from escrow after all Costs of Sale have been paid. Because the proposed sale of the Property is

11 anticipated to generate a substantial net benefit for the Estate, the BofA Subordination Agreement

12 should be approved.

13             B.         Approval of the BofA Subordination Agreement is in the best
14                        interest of the Estate.
15             Under Rule 9019, the court may approve a compromise or settlement on motion by the
16 trustee. Fed. R. Bankr. Proc. 9019. It is well-established that a compromise should be approved if it

17 is “in the best interest of the estate . . . and is fair and equitable for the creditors.” Schmitt v. Ulrich

18 (In re Schmitt), 215 B.R. 417, 424 (9th Cir. BAP 1997); ATKN Company v. Guy F. Atkinson

19 Company of California (In re Guy F. Atkinson Company), 242 B.R 497, 502 (9th Cir. BAP 1999)

20
     5
         The Trustee does not believe that the subordination provision set forth in the BofA Subordination
21 Agreement constitutes a “carve-out.” However, to the extent the Court determines that proposed
     subordination constitutes a carve-out, the requirements for approval of a carve-out are satisfied. In In re KVN
22
     Corp., Inc., the BAP held that courts should consider the following factors in deciding whether to approve a
23   carve-out agreement between a Chapter 7 trustee and a secured lender: (1) whether the trustee “fulfilled his or
     her basic duties;” (2) whether there is “a benefit to the estate, i.e., prospects for a meaningful distribution to
24   unsecured creditors;” (3) whether “the terms of the carve-out agreement been fully disclosed to the
     bankruptcy court.” In re KVN Corp., Inc., 514 B.R. 1, 8 (9th Cir. BAP 2014). In sum, courts should scrutinize
25   carve-out agreements to ensure that the agreement provides a benefit to unsecured creditors and is not merely
     an opportunity for the trustee to receive a commission for making a distribution to a secured creditor who
26   could foreclose on the security interest itself. Id. at 7. In this case, Trustee has fulfilled his basic duties by
     investigating the liens against the Property, listing the Property for sale, and securing a subordination
27   agreement from BofA which will provide a benefit to the Estate three times larger than the original Court-
     approved carve-out. There is also a significant benefit to the Estate if the compromise is approved in that
28   $300,000 will be available for payment of allowed administrative and unsecured claims. Lastly, Trustee has
     disclosed the terms of the Agreement to all creditors and seeks approval of the Agreement by this Motion.
                                              22
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR                  Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52             Desc
                                       Main Document    Page 30 of 185


 1 (“At its base, the approval of a settlement turns on the question of whether the compromise is in the

 2 best interest of the estate.”) The standards to be applied to the approval of a settlement include:

 3            1)          the probability of success of the litigation on its merits;
 4            2)          the difficulties in collection on a judgment;
 5            3)          the complexity of the litigation involved; and
 6            4)          the expense, inconvenience or delay occasioned by the litigation, and the interest of
 7                        creditors.
 8 In re A & C Properties, 784 F.2d 1377, 1380-81 (9th Cir. 1986), cert. den., Martin v. Robinson,

 9 479 U.S. 854, 107 S.Ct. 189 (1989).

10            As explained below, all four A&C factors weigh in favor of approving the Subordination
11 Agreement. Trustee is not waiving any claims other than acknowledging the amount and validity of

12 BofA’s duly-recorded secured debt.

13                        i.      Probability of Success
14            The Trustee has no known factual or legal basis to challenge BofA’s claim or lien, and
15 Debtor’s schedules list this claim as a noncontingent, liquidated, undisputed claim. This factor

16 weighs in favor of approval of the Subordination Agreement.

17                        ii.     Difficulties in Collection
18            If the Trustee were to file suit against BofA to avoid the First DoT or Second DoT, there may
19 not be any difficulty in “collection” other than that which would be necessary to administer the

20 Property in the ordinary course. However, any lawsuit against BofA would be highly unlikely to

21 succeed, and only result in unnecessary administrative expense to the Estate.

22                        iii.    Complexity
23            Because the Trustee has no known factual or legal basis to challenge the First or Second
24 Deed, this factor is inapplicable.

25                        iv.     Expense, inconvenience, or delay
26            Any litigation regarding the First DoT or Second DoT would only reduce recoveries to
27 unsecured creditors where none is guaranteed at this time. Under the BofA Subordination

28 Agreement, $300,000 will be paid to the Estate as well as all Costs of Sale, which would be expected

                                              23
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR            Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                 Main Document    Page 31 of 185


 1 to be necessary to liquidate the Property. This factor weighs heavily in favor of approval of the BofA

 2 Subordination Agreement, which will allow the Trustee to focus on finalizing and closing this

 3 bankruptcy case.

 4            C.          Legal Authority Regarding Approval of the Compromise set forth in
 5                        the Comerica Agreement
 6            The A&C factors also weigh in favor of approving the Comerica Compromise Agreement.
 7                   i.        Probability of Success
 8            Comerica argues that it should be relieved of the Comerica Carve-Out Obligation for the
 9 following reasons: (1) Comerica has incurred much higher than expected fees in prosecuting the two

10 adversary cases; (2) such fees may be recoverable as an administrative claim against the Estate;

11 (3) Comerica believed that BofA would substantially reduce the debt associated with the Second

12 DoT, thus resulting in a payout to Comerica from the sale of the Property, rather than subordinate

13 the debt for the exclusive benefit of the Estate; (4) the Estate cannot sell the Property free and clear

14 over Comerica’s objection; and (5) it would be inequitable for the Estate to receive an additional

15 $200,000 while Comerica continues to prosecute adversary cases that will not result in Comerica

16 being paid from the sale of the Property.

17            Trustee has determined, in his business judgment, that releasing the Comerica Carve-Out
18 Obligation is both equitable and beneficial to the Estate. First, it is unclear if the Estate can sell free

19 and clear of the Comerica Liens since those liens are not presently in dispute. Moreover, absent the

20 release, Comerica intends to: (a) oppose the proposed sale, placing at risk the $300,000 in net

21 proceeds to be received by the Estate under the BofA Subordination Agreement; and (b) assert an

22 administrative claim against the Estate, which may compound the detriment to lower priority

23 unsecured creditors. This factor weighs in favor of approval of the Comerica Compromise

24 Agreement.

25                  ii.        Difficulties in Collection
26            If Trustee were to pursue the Comerica Carve-Out Obligation, there may not be any
27 difficulty in “collection” other than that which would be necessary to administer the Property in the

28 ordinary course. However, litigation against Comerica would result in substantial additional

                                              24
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                    Main Document    Page 32 of 185


 1 administrative expense to the Estate. Plus, Comerica’s liens are out of the money as to the Property

 2 and there is no guarantee that pursuing enforcement of the Carve-Out will benefit creditors.

 3                 iii.          Complexity
 4            The legal issues involved in enforcing the Comerica Carve-Out Obligation or seeking a sale
 5 free and clear of the Comerica Liens are not overly complex. However, to the extent that litigation

 6 would be necessary, litigation expenses will continue to accrue. The settlement will therefore further

 7 judicial economy. The Comerica Compromise Agreement will ease the burden on the Court as well

 8 as on the parties to the agreement who would otherwise need to expend significant time and expense

 9 litigating the various issues resolved under the compromise. As such, this factor weighs in favor of

10 the compromise.

11                 iv.           Expense, inconvenience, or delay
12            Litigation regarding the Comerica Carve-Out Obligation and the proposed sale free and clear
13 would cost the Estate tens of thousands of dollars with no guarantee of success. Under the BofA

14 Subordination Agreement, $300,000 will be paid to the Estate as well as all Costs of Sale, which is

15 $50,000 more that the Estate was to receive under its original agreements with BofA and Comerica.

16 This factor weighs heavily in favor of approval of the Comerica Compromise Agreement, which will

17 allow the Trustee to focus on finalizing and closing this bankruptcy case.

18 6.         Conclusion
19            Based on the foregoing, Trustee respectfully requests that the Court enter an order that
20 provides that:

21            1.          The Motion is granted;
22            2.          The proposed overbid procedures are approved;
23            3.          Trustee is authorized to sell the Property outside the ordinary course of business and
24 is further authorized to pay, pursuant to demands submitted to escrow, all liens and encumbrances;

25            4.          Trustee is authorized to sign all documents necessary to consummate the sale and
26 close escrow, including, but not limited to, purchase and sale agreement, grant deed and escrow

27 instructions;

28

                                              25
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR                Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                     Main Document    Page 33 of 185


 1            5.          The sale is free and clear of all liens, claims, and interests pursuant to 11 U.S.C.
 2 § 363(f);

 3            6.          Trustee and/or escrow is authorized to pay all real property taxes apportioned based
 4 on the date of closing;

 5            7.          Trustee and/or escrow is authorized to pay BofA pursuant to a demand submitted to
 6 escrow and subject to the terms set forth in the BofA Subordination Agreement;

 7            8.          To pay all costs of sale, including 6% commissions, from the funds otherwise payable
 8 to BofA on account of its second-in-priority deed of trust pursuant to the BofA Subordination

 9 Agreement; and

10            9.          Buyers are good faith purchasers entitled to the protections set forth in
11 Section 363(m);

12            10.         The 14-day stay regarding the effectiveness of the order shall be waived;
13            11.         The BofA Subordination Agreement is approved in its entirety;
14            12.         The Comerica Compromise Agreement is approved in its entirety;
15            13.         The Trustee is authorized to take steps necessary to enter into and consummate the
16 BofA Subordination Agreement and the Comerica Compromise Agreement; and

17            14.         Such other further relief as the Court may deem just and proper.
18

19    DATED: July 20, 2021                                 MARSHACK HAYS LLP
20
                                                           By: /s/ Chad V. Haes
21                                                               D. EDWARD HAYS
                                                                 CHAD V. HAES
22                                                               Attorneys for Chapter 7 Trustee,
                                                                 DAVID M. GOODRICH
23

24

25

26

27

28

                                              26
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                    Main Document    Page 34 of 185


 1                                      Declaration of David M. Goodrich
 2

 3            I, DAVID M. GOODRICH, say and declare as follows:
 4            1.          I am the duly appointed, qualified, and acting Chapter 7 Trustee (“Trustee”) for the
 5 bankruptcy estate (“Estate”) of Benjamin W. Gonzales (“Debtor”).

 6            2.          Unless otherwise stated, the facts set forth in this declaration are personally known to
 7 me and if called as a witness, I could and would competently testify thereto.

 8            3.          I make this declaration in support the motion for order: (a) approving subordination
 9 agreement between the Trustee and Bank of America (“BofA Subordination Agreement”); (b)

10 approving compromise between Trustee and Comerica Bank (“Comerica Compromise

11 Agreement”); and (c) authorizing sale of real property outside the ordinary course of business, free

12 and clear of liens, claims and encumbrances, subject to overbid, and for good faith determination of

13 good faith purchaser under 11 U.S.C. § 363(m) (“Motion”).

14            4.          A true and correct copy of the BofA Subordination Agreement is attached hereto as
15 Exhibit “1.”

16            5.          A true and correct copy of the Comerica Compromise Agreement is attached hereto
17 as Exhibit “2.”

18                               Bankruptcy Filing, Schedules, and Statements
19            6.          On November 8, 2017, Debtor filed a voluntary petition under Chapter 7 of Title 11
20 the United States Code. On the same day, I was appointed as the Chapter 7 trustee of the Estate.

21            7.          In his Schedule A/B, Debtor lists a community property interest in the real property
22 commonly known as 14930 Mar Vista St. Whittier, California 90605 (“Property”).

23            8.          Debtor does not claim, and Debtor’s counsel has agreed that Debtor will not claim,
24 any exemption in the Property.

25            9.          Debtor’s Schedule D reflects that the Property is encumbered by several secured
26 claims. True and correct copies of Debtor’s Schedules A/B and D are attached hereto as

27 Exhibit “3.”

28

                                              27
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                    Main Document    Page 35 of 185


 1            10.         On December 21, 2018, as Dk. No. 116, the Court entered an order granting the
 2 employment of BK Global Real Estate Services and listing agent, Rogelio Sanchez of Keller

 3 Williams Downey Realty (“Agent”) to facilitate a sale of the Property and carve-outs from BofA.

 4                                                   The Property
 5            11.         My counsel and I have conducted a search of all known liens, claims, and interests in
 6 the Property. Pursuant to the Preliminary Title Report (“PTR”), title to the Property is held by

 7 Benjamin William Gonzalez and Gretel Arend Gonzales, Trustees of the Gonzales Family Trust of

 8 1999 U/T/A Dated July 26, 1999 (“Trust”). A true and correct copy of the PTR is attached hereto as

 9 Exhibit “4.”

10            12.         The PTR reflects that the Property is encumbered by the following secured claims
11 (collectively, the “Liens”):

12                              A first-in-priority deed of trust in favor of BofA (doc #13-162626) (“First
13                               DoT”);
14                              A second-in-priority deed of trust in favor of BofA (doc #XX-XXXXXXX)
15                               (“Second DoT”);
16                              A FLARPL in favor of Frank O. Fox (“Fox”) (doc #15-779609) (signed only
17                               by Debtor’s ex-spouse) to secure an original indebtedness of $150,000; and
18                              A FLARPL in favor of Fox (doc #16-940681) (signed only by Debtor’s ex-
19                               spouse) to secure an original indebtedness of $250,000 (together with the
20                               above-described FLARPL, the “Fox Liens”).
21            13.         An abstract of judgment (doc #2019-0095204) was recorded by Comerica to secure
22 the amount of its claim (“Comerica Abstract”). After relief from stay, Comerica obtained entry of

23 judgment liquidating its claim in the amount of $1,120,658.30. Although the PTR does not reflect

24 recordation of the Comerica Abstract, I have received a recorded copy from Comerica, which

25 contends that the Comerica Abstract and its resulting judgment lien will relate back to the date of the

26 attachment lien pursuant to CCP § 488.510. A true and correct copy of the Comerica Abstract is

27 attached hereto as Exhibit “5.”

28

                                              28
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                    Main Document    Page 36 of 185


 1            14.         On September 4, 2018, I entered in to an agreement with Gretel Gonzales
 2 (“Ms. Gonzales”) whereby Ms. Gonzales agreed to subordinate her priority domestic support

 3 obligation to allowed administrative expenses of the Estate pursuant to 11 U.S.C. §507(a)(1)(C) in

 4 exchange for the release of certain claims of the Estate (“DSO Agreement”).

 5            15.         On November 16, 2018 as Dk. No. 102, the Court entered an order granting the DSO
 6 Agreement.

 7                                        Comerica’s Prepetition Lawsuit
 8            16.         On September 28, 2018, Comerica obtained a judgment against Debtor, Ms. Gonzales
 9 and The Gonzales Family Trust of July 26, 1999 (“Trust”) in the principal amount of $1,120,658.30

10 (“Comerica Claim”) (see Exhibit 5).

11            17.         I am informed and believe that Comerica contends that it abstract and the resulting
12 judgment lien would relate back to date of the attachment. The lien arising from the attachment and

13 any subsequent judgment lien are collectively referred to as the “Comerica Liens.”

14                  Carve-Out Agreement with Comerica, Debtor, and Ms. Gonzales
15            18.         On or around January 8, 2019, I entered into a carve-out agreement and release
16 (“Comerica Carve-Out Agreement”) with Comerica. A true and correct copy of the Comerica

17 Carve-Out Agreement is attached hereto as Exhibit “6.”

18            19.         On January 18, 2019 as Dk. No. 123, I caused to be filed a motion for approval of
19 compromise with Comerica pursuant to FRBP 9019 (“Compromise Motion”).

20            20.         On March 1, 2019 as Dk. No. 138, the Court entered an order granting the
21 Compromise Motion and approving the Comerica Carve-Out Agreement.

22                                                Fox Lien Litigation
23            21.         On March 22, 2019, Comerica filed an adversary complaint against The Law Firm of
24 Fox and Fox (“Fox Firm”), commencing adversary case no. 2:17-bk-23812-BR.

25            22.         On May 14, 2020, the Court entered summary judgment in favor of Comerica and
26 against the Fox Firm.

27 / / /

28 / / /

                                              29
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                    Main Document    Page 37 of 185


 1                                          Ms. Gonzales Lien Litigation
 2            23.         On June 25, 2019, I entered into a stipulation with Ms. Gonzales re: withdrawal of
 3 abstract of judgment and release of lien (“Withdrawal Stipulation”) addressing the disposition of a

 4 prepetition abstract of judgment recorded by Fox on behalf of Ms. Gonzales (“Abstract”). The

 5 Withdrawal Stipulation provides “Gretel’s liens, claims, and interests, if any, against the Carnell

 6 Property shall attach to the proceeds from the sale of the Carnell Property” and authorizes me to

 7 record the release of Abstract (“Release”).

 8            24.         On July 2, 2019, the Court entered an order approving the Withdrawal Stipulation.
 9            25.         On July 5, 2019, my counsel recorded the Release on my behalf. A true and correct
10 copy of the Release is attached hereto as Exhibit “7.”

11            On or around October 31, 2019, Ms. Gonzales and Fox entered into a settlement, release, and
12 indemnification agreement (“Fox/Gonzales Agreement”). A true and correct copy of the

13 Fox/Gonzales Agreement is attached hereto as Exhibit “8.”

14            26.         On March 17, 2020, Comerica filed an adversary complaint against the Fox Firm and
15 Ms. Gonzales, commencing adversary case no. 2:20-bk-01065-BR (“Second Fox Adversary”). The

16 Second Fox Adversary remains pending and is set for trial in August 2021.

17                                 Offer to Purchase Property and Sale Terms
18            27.         On May 5, 2021, I received an offer to purchase the Property from Raul Ruiz and
19 Blanca Ruiz (“Buyers”) for $1,522,222. A true and correct copy of the proposed sale agreement and

20 addendums (collectively, “PSA”) is attached hereto as Exhibit “9.”

21            28.         The Buyers have provided proof of funds and have submitted an initial deposit of
22 $76,112, which escrow is holding in trust pending court approval and closing of the sale. The

23 deposit shall be refundable only if certain conditions to the sale are not satisfied.

24            29.         The Motion also seeks an order determining that the Buyers are good faith purchasers
25 entitled to the protections of Section 363(m). To the best of my knowledge, I do not have any

26 connection or relationship with the Buyers.

27            30.         I believe the sale will generate $300,000 of net proceeds for the Estate pursuant to a
28 subordination agreement described in more detail below.

                                              30
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR                Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                    Desc
                                     Main Document    Page 38 of 185


 1            31.         To my knowledge, Buyers do not have any connection or relationship with the Debtor
 2 or me.

 3            32.         My accountant, Sam Leslie, of LEA Accountancy, LLP has provided tax advice and
 4 conducted analysis regarding potential tax implications of the sale of the Property. Unfortunately,

 5 the Estate’s exact tax liability cannot yet be determined, but I am also informed that such liability

 6 (if any) will be minimal, and will not preclude or have any material impact on the sale or the net

 7 proceeds to the Estate. In sum, I believe that the Estate will have sufficient funds to pay any such

 8 taxes.

 9            33.         I believe that it is in the best interest of the Estate to proceed with the sale to the
10 Buyers subject to overbid, for the sum of $1,522,222.

11                                      The BofA Subordination Agreement
12            34.         In November 2018, to facilitate the sale of the Property, BofA agreed to a $100,000
13 carve-out in favor of the Estate (“First BofA Agreement”). Pursuant to the First BofA Agreement,

14 BofA also agreed to pay 6% brokerage commissions and all standard costs of sale including title and

15 escrow fees related to the sale of the Property (“Costs of Sale”).

16            35.         On December 21, 2018, the Court entered an order approving the First BofA
17 Agreement.

18            36.         Between the time that I initially sought to sell the Property to the present, substantial
19 additional administrative fees have been incurred through no fault of mine or my professionals.

20 These fees relate to the various litigation and disputes referenced above and to issues related to

21 significant repairs needed to the Property.

22            37.         To address these additional administrative expenses, I have negotiated a new
23 agreement with BofA which amends and supersedes the First BofA Agreement. Specifically,

24 BofA’s Claim secured by the Second DoT will be subordinated in the amount of $300,000 plus all

25 Costs of Sale and treated as a general unsecured claim. The lien securing the subordinated amount

26 will be transferred to the Estate pursuant to 11 U.S.C. § 510(c)(2).

27            38.         This Motion seeks approval of the settlement and subordination agreement with BofA
28 (“BofA Subordination Agreement”), which is attached hereto as Exhibit “1.”

                                              31
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR               Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                Desc
                                    Main Document    Page 39 of 185


 1                                     The Comerica Settlement Agreement
 2            39.         Upon learning of the BofA Subordination Agreement described above, Comerica
 3 requested that the Estate relieve Comerica of its obligation to pay the $150,000 to the Estate

 4 (“Comerica Carve-Out Obligation”) for the following reasons: (1) Comerica has incurred much

 5 higher than expected fees in prosecuting the two adversary cases that it was required to prosecute

 6 under the agreement with the Estate; (2) such substantial fees may be recoverable as an administrative

 7 claim against the Estate; (3) Comerica believed that BofA would substantially reduce the debt

 8 associated with the Second DoT, thus resulting in a payout to Comerica from the sale of the Property,

 9 rather than subordinate the debt for the exclusive benefit of the Estate; (4) given the amount owed to

10 BofA and the value of the Property, Comerica’s liens are out of the money and there would be no

11 funds from which to pay a carve-out; (5) the Estate may not be able to sell the Property free and clear

12 of Comerica’s liens without its consent; and (6) it would be inequitable for the Estate to receive an

13 additional $200,000 from BofA while Comerica continues to prosecute adversary cases that will not

14 result in Comerica’s liens being paid from the sale of the Property.

15            40.         Comerica has threatened to oppose any motion for approval of the PSA should the
16 Estate continue to pursue the Comerica Carve-Out Obligation.

17            41.         To resolve the various disputes with Comerica regarding the sale, on July 14, 2021, I
18 entered into a settlement agreement with Comerica (“Comerica Compromise Agreement”).

19            42.         This Motion seeks approval of the settlement agreement with Comerica (“Comerica
20 Compromise Agreement”), which is attached hereto as Exhibit “2.”

21            43.         I seek to eliminate the need for costly and protracted administration of the bankruptcy
22 case and believe the best interests of the Estate are served by the BofA Subordination Agreement

23 and the Comerica Carve-Out Agreements (collectively, the “Agreements”). The cost of litigation

24 associated with pursuing the Comerica Carve-Out could be substantial, would unnecessarily dilute

25 any recovery obtained for the benefit of the Estate, and would place the sale of the Property at risk.

26 Moreover, there is no certainty that the result from such efforts would be better than the Agreements.

27            44.         In evaluating the Agreements, I have taken into account the probability of success of
28 litigation, the complexity of the litigation involved and the expenses, inconvenience, and delay

                                              32
     MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
     4832-0355-6848,v.1
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 40 of 185
    
            Case 2:17-bk-23812-BR
                                     Doc 
                                          263 Filed 07/20/21 Entered 07/20/21 19:16:52                          Desc
                                      Main Document    Page 41 of 185


              1                                     Declaration of Rogelio Sanchez
              2
                           I, ROGELIO SANCHEZ, declare and state as follows:
              3
                           1.       I am an individual over 18 years of age and competent to make this Declaration.
              4
                           2.       If called upon to do so, I could and would competently testify as to the facts set forth
              5
                  in this Declaration.
              6
                           3.       The facts set forth below are true of my personal knowledge.
              7
                           4.       I am a licensed real estate agent, license no. 01817403, and employed with Keller
              8
                  Williams Realty, telephone (323) 329-0483.
              9
                           5.       I make this declaration in support the Chapter 7 trustee’s (“Trustee”) motion for
            10
                  order: (a) approving subordination agreement between the Trustee and Bank of America; (b)
            11
                  approving compromise between Trustee and Comerica Bank; and (c) authorizing sale of real
            12
                  property outside the ordinary course of business, free and clear of liens, claims and encumbrances,
            13
                  subject to overbid, and for good faith determination of good faith purchaser under 11 U.S.C. §
            14
                  363(m).
            15
                           6.       I have been retained to assist with selling the real property commonly known as
            16
                  14930 Mar Vista St. Whittier, California 90605 (“Property”).
            17
                           7.       The Property has been listed on the CRMLS Matrix since February 9, 2021.
            18
                           8.       I have received approximately 55 calls from interested parties, and the Property has
            19
                  been shown approximately 17 times.
            20
                           9.       We received an offer from Raul Ruiz and Blanca Ruiz, which was accepted.
            21
                           10.      We continue to actively market the Property and seek overbids.
            22
                           I declare under penalty of perjury under the laws of the United States of America that the
            23
                  foregoing is true and correct, and that this declaration is executed on July 16, 2021, at Perris,
            24
                  California.
            25

            26                                                            ROGELIO SANCHEZ
            27

            28

                                                            35
                   MOTION FOR ORDER APPROVING: (1) SUBORDINATION AGREEMENT; (2) COMPROMISE; AND (3) SALE
                  4846-7990-2872, v. 1
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 42 of 185




                        Exhibit 1
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 43 of 185




                                                                      Exhibit "1"
                                                                       Page 36
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 44 of 185




                                                                      Exhibit "1"
                                                                       Page 37
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 45 of 185




                                                                      Exhibit "1"
                                                                       Page 38
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 46 of 185




                                                                     Exhibit "1"
                                                                      Page 39
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 47 of 185




                        Exhibit 2
Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                               Main Document    Page 48 of 185



                        SETTLEMENT AGREEMENT AND RELEASE
       THIS SETTLEMENT AGREEMENT AND RELEASE
by and between David M. Goodrich, solely in his capacity as Chapter 7 trustee             for
the bankruptcy estate of Benjamin W. Gonzales             , and secured creditor, Comerica
Bank Comerica Trustee and Comerica are collectively referred to as the
                                       I.      RECITALS

        A.     On November 8, 2017, Debtor filed a voluntary petition under Chapter 7 of Title 11
of the United States Code in the Central District of California, commencing Bankruptcy Case No.
2:17-bk-23812-BR.

       B.      In his Schedule A/B, Debtor listed an ownership interest in the real property

scheduled value of $1,900,000. The Property is legally described as follows:

               Real property in the City of Whittier, County of Los Angeles, State of
               California, described as follows:

               THE NORTHWESTERLY 135 FEET OF LOT 13 OF TRACT 11571, IN
               THE CITY OF WHITTIER, COUNTY OF LOS ANGELES, STATE OF
               CALIFORNIA, AS PER MAP RECORDED IN BOOK 243 PAGES 27 TO
               29 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
               RECORDER OF SAID COUNTY.

               EXCEPT THEREFROM THE SOUTHWESTERLY 185 FEET
               MEASURED ALONG THE NORTHWESTERLY LINE OF SAID LOT.

               APN: 8149-030-005 and 8149-030-006

       C.      On January 25, 2013, Debtor and                                    Ms.
Gonzales                          First                              Property in the amount
of $550,750 in favor of                        BofA . On January 31, 2013, BofA recorded the
                                                      Instrument No. 13-162626.

        D.      On November 5, 2013, Debtor and Ms. Gonzales signed a second deed of trust
 Second                                 Property in the amount of $719,500 in favor of BofA.
On November 19, 2013, BofA recorded the Second
Office as Instrument No. XX-XXXXXXX.

        E.      On November 14, 2016, Comerica filed a complaint against Debtor, Ms.
Gonzales, The Gonzales Family Trust of July 26,                              affiliated
business entities, commencing State Court case entitled Comerica Bank v. C-Pak Sea Foods et
al., Case No. BC640599.
       F.       On April 11, 2017, the State Court issued a prejudgment writ of attachment
       ) in favor of Comerica and against all defendants.
                                            Page 1 of 4



                                                                                           Exhibit "2"
                                                                                            Page 40
Case 2:17-bk-23812-BR           Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                   Desc
                                Main Document    Page 49 of 185


        G.      On September 28, 2018, Comerica obtained a judgment against Debtor, Ms.
Gonzales, and the Trust in the principal                                                  Any
abstract securing the amount of the Comerica Claim would relate back to date of the Writ. The
liens created by recordation of the Writ and any such abstract are collectively referred to as the
   omerica Liens. Comerica contends that the Comerica Liens extend to the Property and to
proceeds from the sale of the real property located at 14663 Carnell Street, Whittier, California


        H.       In November 2018, to facilitate             sale of the Property, BofA agreed to a
$100,000 carve-out                                 BofA                  . Pursuant to the First BofA
Agreement, BofA also agreed to pay 6% brokerage commissions and all standard costs of sale
including title and escrow fees related to the sale of the Property                     . On December
21, 2018, the Court entered an order approving the First BofA Agreement.

        I.      On January 8, 2019, also to facilitate           sale of the Property, Comerica
agreed, inter alia, to pay a $150,000 carve-out in favor of the Estate with respect to the Comerica
Liens Comerica                   . On March 1, 2019, the Court entered an order approving the
Comerica Agreement.

        J.       Pursuant to the First BofA Agreement and the Comerica Agreement, the Estate is
entitled to receive carve-outs totaling $250,000.

        K.      Pursuant to the Comerica Agreement,
time and effort prosecuting two adversary cases seeking to invalidate alleged liens against the
Property.
performance under the Comerica Agreement, including the delivery of $150,000 in unencumbered
funds to the Estate as set forth in the Comerica Agreement                    -                 .

        L.   Trustee has entered into a purchase and sale agreement to sell the Property for $1.5
million                  . Currently, the amount owed to BofA that is secured by the First DoT
and Second DoT is

        M.      Between the time that Trustee initially sought to sell the Property to the present,
substantial additional administrative fees have been incurred through no fault of the Trustee. To
address these additional administrative expenses, Trustee negotiated a new agreement with BofA
                              , which amends and supersedes the First BofA Agreement.
Specifically,                                Second DoT will be subordinated in the amount of
$300,000 plus all Costs of Sale and treated as a general unsecured claim. The lien securing the
subordinated                            will be transferred to the Estate pursuant to 11 U.S.C.
§ 510(c)(2).

        N.      Comerica requested that the Parties enter into an agreement relieving Comerica of
the Comerica Carve-Out Obligation for the following reasons: (1) Comerica has incurred much
higher than expected attorney fees in prosecuting the two adversary cases; (2) such fees may be
recoverable as an administrative claim against the Estate; (3) Comerica believed that BofA would
substantially reduce the debt associated with the Second DoT, thus resulting in a payout to
Comerica from the sale of the Property, rather than subordinate the debt for the exclusive benefit of

                                             Page 2 of 5


                                                                                             Exhibit "2"
                                                                                              Page 41
Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                               Main Document    Page 50 of 185


the Estate; (4)
against the Property are out of the money and there would be no funds from which to pay a carve-
out; (5) the Estate may not be able to sell the Property free and clear
consent; and (6) it would be inequitable for the Estate to receive an additional $200,000 while
Comerica continues to prosecute adversary cases that will not result in Comerica being paid from
the sale of the Property.

        O.     Comerica has threatened to oppose any motion for approval of the Sale Agreement
should the Trustee continue to pursue the Comerica Carve-Out Obligation.

                                     II.     AGREEMENT
      In consideration of the Recitals above and the mutual promises contained in this
Agreement, and for other good and valuable consideration, the receipt and adequacy of which are
acknowledged, the Parties agree, covenant, and represent as follows subject to approval by the
Bankruptcy Court in Debtor s case:
        1.       Incorporation of Recitals: The Parties incorporate the Recitals above as though
fully set forth here, and the Recitals are made part of this Agreement.
       2.      Consent to Sale. Comerica consents to the sale of the Property by the Trustee
pursuant to the Sale Agreement free and clear of all its liens, claims, and interests under 11
U.S.C. § 363(f).
        3.     Waiver and Release of Administrative Claim. Comerica waives and releases
any and all potential administrative expense claims against the Estate, including under 11
U.S.C. §§ 105 and 503(b).
       4.      Waiver and Release of Comerica Carve-Out Obligation. Trustee, on behalf of
the Estate, waives and releases              rights in the Comerica Carve-Out Obligation, and
Comerica shall be released of any liability arising from the Comerica Carve-Out Obligation.
For the avoidance of doubt, this waiver and release extends to the Comerica Liens on the
Property, the Carnell Property, and any proceeds from the sale of the Property and/or the
Carnell Property. The waivers and releases contained herein shall not be deemed a breach of
the Comerica Agreement, which shall otherwise remain in full force and effect.
        5.       Effect on Comerica Agreement. If this Agreement is approved by the Court, all
rights and obligations under the Comerica Agreement as modified by this Agreement remains in full
force and effect. If this Agreement is not approved by the Court, fails to become effective for any
reason, or is otherwise not fully consummated, the Comerica Agreement shall remain valid and
enforceable.
       6.                          . Trustee is signing this Agreement in his capacity solely as
Chapter 7 trustee of the bankruptcy estate of Debtor. Nothing contained in this Agreement shall in
any way impute liability to the Trustee, personally or as a member of any professional organization
or anyone acting on his behalf.
        7.     Admissions. If this Agreement fails to become effective for any reason or is otherwise
not fully consummated, nothing in this Agreement shall bind the Parties or constitute an admission by
the Parties.


                                            Page 3 of 5


                                                                                           Exhibit "2"
                                                                                            Page 42
 Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                Main Document    Page 51 of 185


        8.     Authority. The signatories to this Agreement acknowledge that they have the authority
and have obtained the requisite approval to enter this Agreement and to act on behalf of and bind any
entity on whose behalf they are signing.
        9.    Representation by Counsel. The Parties further represent that they have been
represented by legal counsel or have had the opportunity to seek advice of legal counsel
during the course of the negotiations leading to the signing of this Agreement and that they
have been advised by legal counsel with respect to the meaning of this Agreement and its legal
effect.
       10.     No Partnership or Joint Venture: Nothing in this Agreement is intended to be
construed as or to create a partnership or joint venture between the parties.
        11.    Integration. This Agreement constitutes an integrated written contract expressing
the entire agreement of the Parties. Other than this Agreement and the Comerica
Agreement, as modified by this Agreement, there are no other agreements, written or oral,
express or implied, between the Parties with respect to this subject matter.
        12.  Modification or Amendment. This Agreement cannot be orally modified or
amended. This Agreement may be modified or amended only by a written agreement signed by
all Parties.
       13.     Counterparts. This Agreement may be executed in counter-parts, including
facsimile and email signatures, with the same effect as if all original signatures were placed
on one document and all of which together shall be one and the same agreement.
        14.     Binding Agreement. This Agreement is and shall be binding upon and shall inure
to the benefit of the heirs, assigns, principals, and successors of all of the Parties.
        15.     Interpretive Law. This Agreement is made and entered into in the State of
California and shall, in all respects be interpreted, enforced, and governed by and under the laws
of the State of California and the United States Bankruptcy Code as applied in the Ninth Circuit.
        16.     Ambiguities. This Agreement has been reviewed by the Parties and their
respective counsel. Further, the Parties have had full opportunity to negotiate the terms and
conditions of this Agreement. Accordingly, the Parties expressly waive any common-law or
statutory rule of construction that ambiguities should be construed against the drafter, and agree,
covenant, and represent that the language in all parts of this Agreement shall be in all cases
construed as a whole, according to its fair meaning.
        17.    Miscellaneous Provisions.
               a.       The Parties represent that they have read this Agreement and fully
understand all of its terms; that they have conferred with or had the opportunity to confer with
their attorneys about this Agreement; that they have executed this Agreement without
coercion or duress of any kind; and that they understand any rights that they have or may have
and sign this Agreement with full knowledge of any such rights.
             b.     The Parties acknowledge that, other than as expressly set forth in this
Agreement, no representations, statements or promises made by the other Party, or by their
respective agents or attorneys, have been relied on in entering into this Agreement.
              c.     Each Party understands that the facts with respect to which this

                                             Page 4 of 5


                                                                                             Exhibit "2"
                                                                                              Page 43
 Case 2:17-bk-23812-BR         Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52              Desc
                               Main Document    Page 52 of 185


Agreement is entered into may be materially different from those the Parties now believe to
be true. Each Party accepts and assumes this risk and agrees that this Agreement and th e
release in it shall remain in full force and effect and legally binding, notwithstanding the
discovery or existence of any additional or different facts, or any claims with respect to those
facts.
           The undersigned have read the foregoing and accept and ag ree to the
provisions contained herein, and hereby execute it, knowingly, voluntarily, and with full
understanding of its consequences.
       IN WITNESS WHEREOF, the Parties hereto have executed this Agreement on the dates
indicated below.


DATED: July __, 2021

                                              By:           DAVID M. GOODRICH, Chapter 7
                                                    Trustee for the Bankruptcy Estate of Benjamin
                                                    Gonzales


DATED: July _14_, 2021

                                              By:           BARRY COHEN, as Senior Vice
                                                    President Of COMERICA BANK




                                          Page 5 of 5



                                                                                        Exhibit "2"
                                                                                         Page 44
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 53 of 185




                                                                      Exhibit "2"
                                                                       Page 45
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 54 of 185




                        Exhibit 3
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 55 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 2 of 26




                                                                              Exhibit "3"
                                                                               Page 46
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 56 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 3 of 26




                                                                              Exhibit "3"
                                                                               Page 47
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 57 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 4 of 26




                                                                              Exhibit "3"
                                                                               Page 48
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 58 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 5 of 26




                                                                              Exhibit "3"
                                                                               Page 49
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 59 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 6 of 26




                                                                              Exhibit "3"
                                                                               Page 50
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 60 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 7 of 26




                                                                              Exhibit "3"
                                                                               Page 51
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 61 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 8 of 26




                                                                              Exhibit "3"
                                                                               Page 52
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 62 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                             Main Document    Page 9 of 26




                                                                              Exhibit "3"
                                                                               Page 53
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 63 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                            Main Document    Page 10 of 26




                                                                              Exhibit "3"
                                                                               Page 54
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 64 of 185

   Case 2:17-bk-23812-BR    Doc 29 Filed 01/22/18 Entered 01/22/18 13:59:23   Desc
                            Main Document    Page 11 of 26




                                                                              Exhibit "3"
                                                                               Page 55
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 65 of 185

   Case 2:17-bk-23812-BR    Doc 30 Filed 01/22/18 Entered 01/22/18 14:12:12   Desc
                             Main Document    Page 2 of 20




                                                                              Exhibit "3"
                                                                               Page 56
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 66 of 185

   Case 2:17-bk-23812-BR    Doc 30 Filed 01/22/18 Entered 01/22/18 14:12:12   Desc
                             Main Document    Page 3 of 20




                                                                              Exhibit "3"
                                                                               Page 57
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 67 of 185

   Case 2:17-bk-23812-BR    Doc 30 Filed 01/22/18 Entered 01/22/18 14:12:12   Desc
                             Main Document    Page 4 of 20




                                                                              Exhibit "3"
                                                                               Page 58
Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52        Desc
                           Main Document    Page 68 of 185

   Case 2:17-bk-23812-BR    Doc 30 Filed 01/22/18 Entered 01/22/18 14:12:12   Desc
                             Main Document    Page 5 of 20




                                                                              Exhibit "3"
                                                                               Page 59
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 69 of 185




                        Exhibit 4
Case 2:17-bk-23812-BR                 Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                               Desc
                                      Main Document    Page 70 of 185
     CLTA Preliminary Report Form                                                             Order Number: TOR-6532168
     (Rev. 11/06)                                                                              Page Number: 1




                                         First American Title Company
                                                   3858 West Carson Street, Suite 100
                                                           Torrance, CA 90503
                                        California Department of Insurance License No. 151

     Monica Castillo
     Escrow Net
     8635 Florence Avenue Suite 106
     Downey, CA 90240-4045
     Phone:
     Fax:

     Customer Reference:                                        11853-MC
     Order Number:                                              TOR-6532168 (MPMC)

     Title Officer:                                             Michelle Pascual / Mina Chin
     Phone:                                                     (818)550-2501
     Fax No.:                                                   (866)878-7977
     E-Mail:                                                    michelle.pascual@firstam.com

     Buyer:                                                     Salah M Dahdul and Susana I Dahdul
     Owner:                                                     Benjamin W Gonzales and David Goodrich Trs
     Property:                                                  14930 Mar Vista Street
                                                                Whittier, CA 90605

                                                         PRELIMINARY REPORT

     In response to the above referenced application for a policy of title insurance, this company hereby reports that it is prepared to
     issue, or cause to be issued, as of the date hereof, a Policy or Policies of Title Insurance describing the land and the estate or
     interest therein hereinafter set forth, insuring against loss which may be sustained by reason of any defect, lien or encumbrance not
     shown or referred to as an Exception below or not excluded from coverage pursuant to the printed Schedules, Conditions and
     Stipulations of said Policy forms.

     The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set forth in
     Exhibit A attached. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less than that set
     forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or the Insured as the
     exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA Homeowner's Policies of Title
     Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in
     Exhibit A. Copies of the policy forms should be read. They are available from the office which issued this report.

     Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in Exhibit A of
     this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not
     covered under the terms of the title insurance policy and should be carefully considered.

     It is important to note that this preliminary report is not a written representation as to the condition of title and
     may not list all liens, defects, and encumbrances affecting title to the land.

     This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a policy of
     title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a policy of title
     insurance, a Binder or Commitment should be requested.



                                                              First American Title
                                                                    Page 1 of 16

                                                                                                                             Exhibit "4"
                                                                                                                              Page 60
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                          Desc
                                  Main Document    Page 71 of 185
                                                                          Order Number: TOR-6532168
                                                                           Page Number: 2




  Dated as of March 12, 2021 at 7:30 A.M.

  The form of Policy of title insurance contemplated by this report is:

  ALTA/CLTA Homeowner's (EAGLE) Policy of Title Insurance (2013) and ALTA Ext Loan Policy 1056.06
  (06-17-06) if the land described is an improved residential lot or condominium unit on which there is
  located a one-to-four family residence; or ALTA Standard Owner's Policy 2006 (WRE 06-17-06) and the
  ALTA Loan Policy 2006 (06-17-06) if the land described is an unimproved residential lot or condominium
  unit

  A specific request should be made if another form or additional coverage is desired.

  Title to said estate or interest at the date hereof is vested in:


      Benjamin William Gonzales and Gretel Arend Gonzales, Trustees of The Gonzales Family Trust Dated
      July 26, 1999

  The estate or interest in the land hereinafter described or referred to covered by this Report is:

      FEE

  The Land referred to herein is described as follows:

  (See attached Legal Description)

  At the date hereof exceptions to coverage in addition to the printed Exceptions and Exclusions in said
  policy form would be as follows:


 1.   General and special taxes and assessments for the fiscal year 2021-2022, a lien not yet due or
      payable.


 2.   General and special taxes and assessments for the fiscal year 2020-2021.

      First Installment:                     $6,878.78, PAID
      Penalty:                               $0.00
      Second Installment:                    $6,878.78, OPEN
      Penalty:                               $0.00
      Tax Rate Area:                         79-03561
      A. P. No.:                             8149-030-005




                                                First American Title
                                                     Page 2 of 16

                                                                                                       Exhibit "4"
                                                                                                        Page 61
Case 2:17-bk-23812-BR           Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                          Desc
                                Main Document    Page 72 of 185
                                                                        Order Number: TOR-6532168
                                                                         Page Number: 3


 3.   General and special taxes and assessments for the fiscal year 2020-2021.

      First Installment:                   $377.29, PAID
      Penalty:                             $0.00
      Second Installment:                  $377.29, OPEN
      Penalty:                             $0.00
      Tax Rate Area:                       79-03561
      A. P. No.:                           8149-030-006

 4.   The lien of supplemental taxes, if any, assessed pursuant to Chapter 3.5 commencing with Section 75
      of the California Revenue and Taxation Code.

 5.   An easement for PIPE LINES and incidental purposes in the document recorded as BOOK 18483,
      PAGE 225 of Official Records.

      The location of the easement cannot be determined from record information.

 6.   An easement for public utilities and incidental purposes in the document recorded as BOOK 19507,
      PAGE 50 of Official Records.

 7.   Covenants, conditions, restrictions and easements in the document recorded June 20, 1941 as BOOK
      18491, PAGE 232 of Official Records, which provide that a violation thereof shall not defeat or render
      invalid the lien of any first mortgage or deed of trust made in good faith and for value, but deleting
      any covenant, condition, or restriction, if any, indicating a preference, limitation, or discrimination
      based on race, color, religion, sex, gender, gender identity, gender expression, sexual orientation,
      familial status, marital status, disability, handicap, veteran or military status, genetic information,
      national origin, source of income as defined in subdivision (p) of Section 12955, or ancestry, to the
      extent that such covenants, conditions or restrictions violate applicable state or federal laws. Lawful
      restrictions under state and federal law on the age of occupants in senior housing or housing for
      older persons shall not be construed as restrictions based on familial status.

      Document(s) declaring modifications thereof recorded July 30, 1941 as BOOK 18651, PAGE 101;
      DECEMBER 27, 1965 AS INSTRUMENT NO. 65-910; DECEMBER 31, 1975 AS INSTRUMENT NO. 75-
      6736; AND DECEMBER 11, 1986 AS INSTRUMENT NO. XX-XXXXXXX, ALL of Official Records.

 8.   An easement for POWER LINES and incidental purposes in the document recorded as BOOK 27590,
      PAGE 343 of Official Records.

 9.   An easement for TELEPHONE LINES and incidental purposes in the document recorded as BOOK
      29063, PAGE 68 of Official Records.

10.   A deed of trust to secure an original indebtedness of $550,750.00 recorded January 31, 2013 as
      INSTRUMENT NO. 13-162626 OF OFFICIAL RECORDS.
      Dated:                             January 25, 2013
      Trustor:                           BENJAMIN WILLIAM GONZALES AND GRETEL AREND
                                         GONZALES, INDIVIDUALLY AND AS TRUSTEES OF THE
                                         GONZALES FAMILY TRUST DATED JULY 26, 1999
      Trustee:                           FIRST AMERICAN TITLE
      Beneficiary:                       BANK OF AMERICA, N.A.




                                              First American Title
                                                   Page 3 of 16

                                                                                                    Exhibit "4"
                                                                                                     Page 62
Case 2:17-bk-23812-BR             Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                            Desc
                                  Main Document    Page 73 of 185
                                                                          Order Number: TOR-6532168
                                                                           Page Number: 4


11.    A deed of trust to secure an original indebtedness of $719,500.00 recorded November 19, 2013 as
       INSTRUMENT NO. XX-XXXXXXX OF OFFICIAL RECORDS.
       Dated:                             November 05, 2013
       Trustor:                           BENJAMIN WILLIAM GONZALES AND GRETEL AREND
                                          GONZALES, INDIVIDUALLY AND AS TRUSTEES OF THE
                                          GONZALES FAMILY TRUST DATED JULY 26, 1999
       Trustee:                           FIRST AMERICAN TITLE
       Beneficiary:                       BANK OF AMERICA, N.A.



       The above deed of trust states that it secures an equity line/revolving line of credit. Prior to the
       payment and suspension of the equity line/revolving line of credit, an instruction to suspend and
       close the equity line/revolving line of credit pursuant to CA Civil Code Section 2943.1 must be
       executed by the borrower.

12.    A deed of trust to secure an original indebtedness of $150,000.00 recorded June 30, 2015 as
       INSTRUMENT NO. 15-779609 OF OFFICIAL RECORDS.
       Dated:                             March 09, 2015
       Trustor:                           GRETEL A. GONZALES
       Trustee:                           COMMONWEALTH LAND TITLE COMPANY, A CALIFORNIA
                                          CORPORATION
       Beneficiary:                       FRANK O. FOX



  a. If this deed of trust is to be eliminated in the policy or policies contemplated by this
     report/commitment, the company will require the following for review prior to the recordation of any
     documents or the issuance of any policy of title insurance:
             i.   Original note and deed of trust.
             ii.  Payoff demand statement signed by all present beneficiaries.
             iii. Request for reconveyance or substitution of trustee and full reconveyance must be
                  signed by all present beneficiaries and must be notarized by a First American approved
                  notary.

  b. If the payoff demand statement or the request for reconveyance is to be signed by a servicer, we will
     also require a full copy of the loan servicing agreement executed by all present beneficiaries.

  c.   If any of the beneficial interest is presently held by trustees under a trust agreement, we will require
       a certification pursuant to Section 18100.5 of the California Probate Code in a form satisfactory to the
       Company.

13.    A deed of trust to secure an original indebtedness of $250,000.00 recorded August 09, 2016 as
       INSTRUMENT NO. 16-940681 OF OFFICIAL RECORDS.
       Dated:                             July 28, 2016
       Trustor:                           GRETEL A. GONZALES
       Trustee:                           COMMONWEALTH LAND TITLE COMPANY, A CALIFORNIA
                                          CORPORATION
       Beneficiary:                       FRANK O. FOX



  a. If this deed of trust is to be eliminated in the policy or policies contemplated by this
     report/commitment, the company will require the following for review prior to the recordation of any
     documents or the issuance of any policy of title insurance:
             i.   Original note and deed of trust.
             ii.  Payoff demand statement signed by all present beneficiaries.

                                               First American Title
                                                    Page 4 of 16

                                                                                                      Exhibit "4"
                                                                                                       Page 63
Case 2:17-bk-23812-BR            Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                         Desc
                                 Main Document    Page 74 of 185
                                                                             Order Number: TOR-6532168
                                                                              Page Number: 5


                  iii.   Request for reconveyance or substitution of trustee and full reconveyance must be
                         signed by all present beneficiaries and must be notarized by a First American approved
                         notary.

      b. If the payoff demand statement or the request for reconveyance is to be signed by a servicer, we will
         also require a full copy of the loan servicing agreement executed by all present beneficiaries.

      c.   If any of the beneficial interest is presently held by trustees under a trust agreement, we will require
           a certification pursuant to Section 18100.5 of the California Probate Code in a form satisfactory to the
           Company.

   14.     Any defects, liens, encumbrances or other matters which name parties with the same or similar
           names as BENJAMIN WILLIAM GONZALES. The name search necessary to ascertain the existence of
           such matters has not been completed. In order to complete this preliminary report or commitment,
           we will require a statement of information.

   15.     Any defects, liens, encumbrances or other matters which name parties with the same or similar
           names as GRETEL AREND GONZALES. The name search necessary to ascertain the existence of such
           matters has not been completed. In order to complete this preliminary report or commitment, we
           will require a statement of information.

   16.     Water rights, claims or title to water, whether or not shown by the Public Records.

   17.     This transaction may be subject to a Geographic Targeting Order ("GTO") issued pursuant to the
           Bank Secrecy Act. Information necessary to comply with the GTO must be provided prior to the
           closing. This transaction will not be insured until this information is submitted, reviewed and found to
           be complete.

           Prior to the issuance of any policy of title insurance, the Company will require:

   18.     With respect to the trust referred to in the vesting:
           a. A certification pursuant to Section 18100.5 of the California Probate Code in a form satisfactory to
           the Company.
           b. Copies of those excerpts from the original trust documents and amendments thereto which
           designate the trustee and confer upon the trustee the power to act in the pending transaction.
           c. Other requirements which the Company may impose following its review of the material required
           herein and other information which the Company may require.




                                                   First American Title
                                                        Page 5 of 16

                                                                                                    Exhibit "4"
                                                                                                     Page 64
Case 2:17-bk-23812-BR            Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                           Desc
                                 Main Document    Page 75 of 185
                                                                         Order Number: TOR-6532168
                                                                          Page Number: 6


                                         INFORMATIONAL NOTES

 Note: The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
 than the certain dollar amount set forth in any applicable arbitration clause, all arbitrable matters shall be
 arbitrated at the option of either the Company or the Insured as the exclusive remedy of the parties. If
 you desire to review the terms of the policy, including any arbitration clause that may be included,
 contact the office that issued this Commitment or Report to obtain a sample of the policy jacket for the
 policy that is to be issued in connection with your transaction.



1.   This report is preparatory to the issuance of an ALTA Loan Policy. We have no knowledge of any fact
     which would preclude the issuance of the policy with CLTA endorsement forms 100 and 116 and if
     applicable, 115 and 116.2 attached.

     When issued, the CLTA endorsement form 116 or 116.2, if applicable will reference a(n) Single
     Family Residence known as 14930 MAR VISTA STREET, WHITTIER, CA.

     AFFECTS APN 8149-030-005

2.   The property covered by this report is vacant land.

     AFFECTS APN 8149-030-006

3.   According to the public records, there has been no conveyance of the land within a period of twenty-
     four months prior to the date of this report, except as follows:

     None

     NOTE to proposed insured lender only: No Private transfer fee covenant, as defined in Federal
     Housing Finance Agency Final Rule 12 CFR Part 1228, that was created and first appears in the Public
     Records on or after February 8, 2011, encumbers the Title except as follows: None

 The map attached, if any, may or may not be a survey of the land depicted hereon. First American
 expressly disclaims any liability for loss or damage which may result from reliance on this map except to
 the extent coverage for such loss or damage is expressly provided by the terms and provisions of the title
 insurance policy, if any, to which this map is attached.




                                              First American Title
                                                   Page 6 of 16

                                                                                                      Exhibit "4"
                                                                                                       Page 65
Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                          Desc
                               Main Document    Page 76 of 185
                                                                             Order Number: TOR-6532168
                                                                              Page Number: 7


                                                LEGAL DESCRIPTION

      Real property in the City of Whittier, County of Los Angeles, State of California, described as follows:

      THE NORTHWESTERLY 135 FEET OF LOT 13 OF TRACT 11571, IN THE CITY OF WHITTIER, COUNTY OF
      LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 243 PAGES 27 TO 29
      INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

      EXCEPT THEREFROM THE SOUTHWESTERLY 185 FEET MEASURED ALONG THE NORTHWESTERLY LINE
      OF SAID LOT.

          APN: 8149-030-005 and 8149-030-006




                                                  First American Title
                                                       Page 7 of 16

                                                                                                   Exhibit "4"
                                                                                                    Page 66
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                        Main Document    Page 77 of 185
                                                              Order Number: TOR-6532168
                                                               Page Number: 8




                                       First American Title
                                            Page 8 of 16

                                                                                Exhibit "4"
                                                                                 Page 67
Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                         Desc
                               Main Document    Page 78 of 185
                                                                          Order Number: TOR-6532168
                                                                           Page Number: 9


                                                        NOTICE

     Section 12413.1 of the California Insurance Code, effective January 1, 1990, requires that any title insurance
     company, underwritten title company, or controlled escrow company handling funds in an escrow or sub-
     escrow capacity, wait a specified number of days after depositing funds, before recording any documents in
     connection with the transaction or disbursing funds. This statute allows for funds deposited by wire transfer
     to be disbursed the same day as deposit. In the case of cashier's checks or certified checks, funds may be
     disbursed the next day after deposit. In order to avoid unnecessary delays of three to seven days, or more,
     please use wire transfer, cashier's checks, or certified checks whenever possible.




                                                First American Title
                                                     Page 9 of 16

                                                                                                  Exhibit "4"
                                                                                                   Page 68
Case 2:17-bk-23812-BR                     Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                              Desc
                                          Main Document    Page 79 of 185
                                                                                                Order Number: TOR-6532168
                                                                                                 Page Number: 10

                                                                  EXHIBIT A
                                          LIST OF PRINTED EXCEPTIONS AND EXCLUSIONS (BY POLICY TYPE)


                                              CLTA STANDARD COVERAGE POLICY – 1990
                                                     EXCLUSIONS FROM COVERAGE

 The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs,
 attorneys' fees or expenses which arise by reason of:
 1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations)
            restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or
            location of any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the
            dimensions or area of the land or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect
            of any violation of these laws, ordinances or governmental regulations, except to the extent that a notice of the enforcement
            thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged violation affecting the land has been
            recorded in the public records at Date of Policy.
      (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice
            of a defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the
            public records at Date of Policy.
 2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not
      excluding from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser
      for value without knowledge.
 3. Defects, liens, encumbrances, adverse claims or other matters:
      (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured
            claimant;
      (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not
            disclosed in writing to the Company by the insured claimant prior to the date the insured claimant became an insured under
            this policy;
      (c) resulting in no loss or damage to the insured claimant;
      (d)   attaching or created subsequent to Date of Policy; or
      (e)   resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured
            mortgage or for the estate or interest insured by this policy.
 4.   Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability
      or failure of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the
      land is situated.
 5.   Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by
      the insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.
 6.   Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction
      creating the interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors'
      rights laws.
                                             EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
 This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by
 reason of:
 1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments
      on real property or by the public records.
      Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by
      the records of such agency or by the public, records.
 2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of
      the land or which may be asserted by persons in possession thereof.
 3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
 4.   Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would
      disclose, and which are not shown by the public records.
 5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights,
      claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
 6.   Any lien or right to a lien for services, labor or material unless such lien is shown by the public records at Date of Policy.




                                    CLTA/ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                                           EXCLUSIONS

 In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
 1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
      a. building;
      b. zoning;
      c. land use;



                                                              First American Title
                                                                    Page 10 of 16

                                                                                                                                Exhibit "4"
                                                                                                                                 Page 69
     Case 2:17-bk-23812-BR                    Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                            Desc
                                              Main Document    Page 80 of 185
                                                                                              Order Number: TOR-6532168
                                                                                               Page Number: 11


      d. improvements on the Land;
      e. land division; and
      f. environmental protection.
      This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2.    The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion
      does not limit the coverage described in Covered Risk 14 or 15.
3.    The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4.    Risks:
      a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
      b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
      c. that result in no loss to You; or
      d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.    Failure to pay value for Your Title.
6.    Lack of a right:
      a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
      b. in streets, alleys, or waterways that touch the Land.
      This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.    The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
      insolvency, or similar creditors' rights laws.
8.    Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.    Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.


                                                     LIMITATIONS ON COVERED RISKS

Your insurance for the following Covered Risks is limited on the Owner's Coverage Statement as follows:
For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:

                                                   Your Deductible Amount                              Our Maximum Dollar Limit of Liability

Covered Risk 16:                     1% of Policy Amount Shown in Schedule A or $2,500                                $10,000
                                                     (whichever is less)

Covered Risk 18:                     1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                     (whichever is less)

Covered Risk 19:                     1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                     (whichever is less)

Covered Risk 21:                     1% of Policy Amount Shown in Schedule A or $2,500                                 $5,000
                                                     (whichever is less)




                                                    2006 ALTA LOAN POLICY (06-17-06)
                                                        EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.    (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
      or relating to

           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;

      or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
      provided under Covered Risk 5.
      (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.    Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.    Defects, liens, encumbrances, adverse claims, or other matters
      (a) created, suffered, assumed, or agreed to by the Insured Claimant;
      (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
      writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



                                                             First American Title
                                                                   Page 11 of 16

                                                                                                                                   Exhibit "4"
                                                                                                                                    Page 70
 Case 2:17-bk-23812-BR                       Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                              Desc
                                             Main Document    Page 81 of 185
                                                                                               Order Number: TOR-6532168
                                                                                                Page Number: 12


     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
     13, or 14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.   Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
     laws of the state where the Land is situated.
5.   Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
     Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6.   Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
     lien of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7.   Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
     and the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under
     Covered Risk 11(b).


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                          EXCEPTIONS FROM COVERAGE
[Except as provided in Schedule B - Part II,[ t[or T]his policy does not insure against loss or damage, and the Company will not pay costs,
attorneys' fees or expenses, that arise by reason of:
                                                                     [PART I
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
     that may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
     title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material unless such lien is shown by the Public Records at Date of Policy.


                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss
or damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:]




                                                  2006 ALTA OWNER'S POLICY (06-17-06)
                                                        EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
     or relating to

          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;

     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
     provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
     writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



                                                             First American Title
                                                                   Page 12 of 16

                                                                                                                                   Exhibit "4"
                                                                                                                                    Page 71
 Case 2:17-bk-23812-BR                      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                             Desc
                                            Main Document    Page 82 of 185
                                                                                             Order Number: TOR-6532168
                                                                                              Page Number: 13


     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 or
     10); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4.   Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction vesting the
     Title as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5.   Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
     and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                        EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage, and the Company will not pay costs, attorneys' fees or expenses, that arise by reason of:
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

1.   (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2.   Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
     that may be asserted by persons in possession of the Land.
3.   Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4.   Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
     title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6.   Any lien or right to a lien for services, labor or material unless such lien is shown by the Public Records at Date of Policy.
7.   [Variable exceptions such as taxes, easements, CC&R's, etc. shown here.]


                                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY (07-26-10)
                                                EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
     or relating to

          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;

     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the
     coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d),
     14 or 16.
2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
     writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
     16, 17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.   Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
     laws of the state where the Land is situated.
5.   Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
     Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit
     the coverage provided in Covered Risk 26.
6.   Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the


                                                            First American Title
                                                                  Page 13 of 16

                                                                                                                                 Exhibit "4"
                                                                                                                                  Page 72
   Case 2:17-bk-23812-BR                      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                            Desc
                                              Main Document    Page 83 of 185
                                                                                            Order Number: TOR-6532168
                                                                                             Page Number: 14


    Insured has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This
    Exclusion does not modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
    Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with
    applicable building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
    lien of the Insured Mortgage, is
    (a) a fraudulent conveyance or fraudulent transfer, or
    (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




                                                            First American Title
                                                                  Page 14 of 16

                                                                                                                                  Exhibit "4"
                                                                                                                                   Page 73
Case 2:17-bk-23812-BR                       Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                              Desc
                                            Main Document    Page 84 of 185




                                                                   Privacy Notice
Effective: October 1, 2019
Notice Last Updated: January 1, 2021
This Privacy Notice describes how First American Financial Corporation and its subsidiaries and affiliates (together
referred to as “First American,” “we,” “us,” or “our”) collect, use, store, and share your information. This Privacy Notice
applies to information we receive from you offline only, as well as from third parties, when you interact with us and/or
use and access our services and products (“Products”). For more information about our privacy practices, including our
online practices, please visit https://www.firstam.com/privacy-policy/. The practices described in this Privacy Notice are
subject to applicable laws in the places in which we operate.
What Type Of Information Do We Collect About You? We collect a variety of categories of information about you.
To learn more about the categories of information we collect, please visit https://www.firstam.com/privacy-policy/.
How Do We Collect Your Information? We collect your information: (1) directly from you; (2) automatically when
you interact with us; and (3) from third parties, including business parties and affiliates.
How Do We Use Your Information? We may use your information in a variety of ways, including but not limited to
providing the services you have requested, fulfilling your transactions, comply with relevant laws and our policies, and
handling a claim. To learn more about how we may use your information, please visit https://www.firstam.com/privacy-
policy/.
How Do We Share Your Information? We do not sell your personal information. We only share your information,
including to subsidiaries, affiliates, and to unaffiliated third parties: (1) with your consent; (2) in a business transfer; (3)
to service providers; and (4) for legal process and protection. To learn more about how we share your information, please
visit https://www.firstam.com/privacy-policy/.
How Do We Store and Protect Your Information? The security of your information is important to us. That is why
we take commercially reasonable steps to make sure your information is protected. We use our best efforts to maintain
commercially reasonable technical, organizational, and physical safeguards, consistent with applicable law, to protect your
information.
How Long Do We Keep Your Information? We keep your information for as long as necessary in accordance with
the purpose for which it was collected, our business needs, and our legal and regulatory obligations.
Your Choices We provide you the ability to exercise certain controls and choices regarding our collection, use, storage,
and sharing of your information. You can learn more about your choices by visiting https://www.firstam.com/privacy-
policy/.
International Jurisdictions: Our Products are offered in the United States of America (US), and are subject to US
federal, state, and local law. If you are accessing the Products from another country, please be advised that you may be
transferring your information to us in the US, and you consent to that transfer and use of your information in accordance
with this Privacy Notice. You also agree to abide by the applicable laws of applicable US federal, state, and local laws
concerning your use of the Products, and your agreements with us.
We may change this Privacy Notice from time to time. Any and all changes to this Privacy Notice will be reflected on this
page, and where appropriate provided in person or by another electronic method. YOUR CONTINUED USE, ACCESS,
OR INTERACTION WITH OUR PRODUCTS OR YOUR CONTINUED COMMUNICATIONS WITH US AFTER THIS
NOTICE HAS BEEN PROVIDED TO YOU WILL REPRESENT THAT YOU HAVE READ AND UNDERSTOOD THIS
PRIVACY NOTICE.
Contact Us dataprivacy@firstam.com or toll free at 1-866-718-0097.


© 2020 First American Financial Corporation and/or its affiliates. All rights reserved. NYSE:FAF

Form 10-PRIVACY20 (12-18-20)                       Page 1 of 2                                     Privacy Notice (2020 First American Financial Corporation)
                                                                                                                                                      English




                                                                                                                                  Exhibit "4"
                                                                                                                                   Page 74
Case 2:17-bk-23812-BR                       Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                              Desc
                                            Main Document    Page 85 of 185




                                                            For California Residents
If you are a California resident, you may have certain rights under California law, including but not limited to the
California Consumer Privacy Act of 2018 (“CCPA”). All phrases used in this section shall have the same meaning as those
phrases are used under California law, including the CCPA.
Right to Know. You have a right to request that we disclose the following information to you: (1) the categories of
personal information we have collected about or from you; (2) the categories of sources from which the personal
information was collected; (3) the business or commercial purpose for such collection and/or disclosure; (4) the
categories of third parties with whom we have shared your personal information; and (5) the specific pieces of your
personal information we have collected. To submit a verified request for this information, go to our online privacy
policy at www.firstam.com/privacy-policy to submit your request or call toll-free at 1-866-718-0097. You may also
designate an authorized agent to submit a request on your behalf by going to our online privacy policy at
www.firstam.com/privacy-policy to submit your request or by calling toll-free at 1-866-718-0097.
Right of Deletion. You also have a right to request that we delete the personal information we have collected from
and about you. This right is subject to certain exceptions available under the CCPA and other applicable law. To submit a
verified request for deletion, go to our online privacy policy at www.firstam.com/privacy-policy to submit your request or
call toll-free at 1-866-718-0097. You may also designate an authorized agent to submit a request on your behalf by going
to our online privacy policy at www.firstam.com/privacy-policy to submit your request or by calling toll-free at 1-866-718-
0097.
Verification Process. For either a request to know or delete, we will verify your identity before responding to your
request. To verify your identity, we will generally match the identifying information provided in your request with the
information we have on file about you. Depending on the sensitivity of the information requested, we may also utilize
more stringent verification methods to verify your identity, including but not limited to requesting additional information
from you and/or requiring you to sign a declaration under penalty of perjury.
Notice of Sale. We do not sell California resident information, nor have we sold California resident information in the
past 12 months. We have no actual knowledge of selling the information of minors under the age of 16.
Right of Non-Discrimination. You have a right to exercise your rights under California law, including under the CCPA,
without suffering discrimination. Accordingly, First American will not discriminate against you in any way if you choose to
exercise your rights under the CCPA.
Notice of Collection. To learn more about the categories of personal information we have collected about
California residents over the last 12 months, please see “What Information Do We Collect About You” in
https://www.firstam.com/privacy-policy. To learn about the sources from which we have collected that information, the
business and commercial purpose for its collection, and the categories of third parties with whom we have shared that
information, please see “How Do We Collect Your Information”, “How Do We Use Your Information”, and “How Do We
Share Your Information” in https://www.firstam.com/privacy-policy.
Notice of Sale. We have not sold the personal information of California residents in the past 12 months.
Notice of Disclosure. To learn more about the categories of personal information we may have disclosed about
California residents in the past 12 months, please see “How Do We Use Your Information” and “How Do We Share Your
Information” in https://www.firstam.com/privacy-policy.




© 2020 First American Financial Corporation and/or its affiliates. All rights reserved. NYSE:FAF

Form 10-PRIVACY20 (12-18-20)                       Page 2 of 2                                     Privacy Notice (2020 First American Financial Corporation)
                                                                                                                                                      English




                                                                                                                                  Exhibit "4"
                                                                                                                                   Page 75
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 86 of 185




                        Exhibit 5
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 87 of 185




                                                                      Exhibit "5"
                                                                       Page 76
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 88 of 185




                                                                      Exhibit "5"
                                                                       Page 77
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 89 of 185




                                                                      Exhibit "5"
                                                                       Page 78
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 90 of 185




                        Exhibit 6
 Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                 Desc
                                Main Document    Page 91 of 185
                          Carve-Out Agreement and Release
         THIS CARVE-OUT AGREEMENT AND RELEASE (“Agreement”) is entered into
on January ___, 2019, (“Effective Date”) by and between David M. Goodrich (“Trustee”),
solely in his capacity as Chapter 7 trustee for the bankruptcy estate of Benjamin W. Gonzales
(“Estate”), Comerica Bank (“Comerica”), Benjamin W. Gonzales (“Debtor”), and Gretel Gonzales
(“Ms. Gonzales”), Debtor’s ex-spouse. The Trustee, Comerica, the Debtor, and Ms. Gonzales are
collectively referred to as the “Parties.”
                                           I. Recitals
                              The Fox Liens and Resulting Lawsuit
       A.     On or about February 24, 2015, Ms. Gonzales retained The Law Firm of Fox and
Fox (“Fox Firm”) as her family law counsel to commence a dissolution action against Debtor in the
Los Angeles Superior Court (“State Court”).
       B.     On February 27, 2015, the Fox Firm commenced State Court Case No. BD616423
(“Divorce Case”) on Ms. Gonzales’ behalf.
        C.       Between February 24, 2015, and October 26, 2017, Ms. Gonzales incurred alleged
attorneys’ fees related to the Divorce Case.
         D.      On June 30, 2015, the Fox Firm recorded a deed of trust (“First DoT”) against the
real property located at 14930 Mar Vista Street, Whittier, California 90605 (“Mar Vista Property”)
at the Los Angeles County Recorder’s Office as instrument no.XX-XXXXXXX to secure an alleged debt
of Ms. Gonzales in the amount of $150,000. On August 10, 2015, the Fox Firm recorded the deed of
trust (“Second DoT”) against the real property located at 14663 Carnell Street, Whittier, California
90603 (“Carnell Property”) at the Los Angeles County Recorder’s Office as instrument no. 15-
973660. Collectively, the First DoT and Second DoT are referred to herein as the “First FLARPL.”
       E.       On February 19, 2016, the Fox Firm, on behalf Ms. Gonzales, filed an abstract of
judgment at the Los Angeles County Recorder’s Office as instrument no. XX-XXXXXXX reflecting a
spousal support judgment against Debtor entered on January 12, 2016 (“Gretel Abstract”).
        F.       On August 9, 2016, the Fox Firm recorded a deed of trust against the Mar Vista
Property at the Los Angeles County Recorder’s Office as instrument no. 16-940681 to secure an
alleged debt of Ms. Gonzales in the amount of $250,000 (“Second FLARPL”).
        G.       On February 27, 2017, the Fox Firm recorded a deed of trust against the Carnell
Property at the Los Angeles County Recorder’s Office as instrument no. XX-XXXXXXX to secure an
alleged debt of Ms. Gonzales in the amount of $250,000 (“Third FLARPL”).
        H.       The First FLARPL, Second FLARPL, and Third FLARPL are collectively referred
to herein as the “Fox Liens.”
         I.      On November 9, 2017, the Fox Firm filed a civil lawsuit against Ms. Gonzales
commencing Civil Case No. BC682953 (“Fox Case”). The complaint commencing the Fox Case
asserts claims for breach of contract arising from Ms. Gonzales’ alleged failure to pay attorneys’
fees in the Divorce Case and seeks damages in the amount of $763,330.48 (“Fox Damages”).




4822-2707-9810, v. 1

                                                                                           Exhibit "6"
                                                                                            Page 79
 Case 2:17-bk-23812-BR           Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                   Desc
                                 Main Document    Page 92 of 185
        J.     On January 5, 2018, Ms. Gonzales filed an answer disputing the Fox Damages and
a cross-complaint against the Fox Firm (“Cross-Claims”). The trial in the Fox Case is currently set
for March 2019.
         K.       As of October 9, 2018, the Fox Firm alleges that it is owed attorneys’ fees and
interest in the total amount of $837,783.23 (“Fox Claim”). The Fox Claim is allegedly secured by
the Properties pursuant to the Fox Liens.
                                           Comerica Claim
         L.      On November 14, 2016, Comerica Bank (“Plaintiff”) filed a complaint against
Debtor, Ms. Gonzales, The Gonzales Family Trust of July 26, 1999 (“Trust”), and Debtor’s
affiliated business entities, commencing State Court case entitled Comerica Bank v. C-Pak Sea
Foods et al., Case No. BC640599 (“Comerica Case”). The complaint demanded $1,458,573.49
and alleged causes of action for breach of contract and breach of guaranty.
       M.      On April 11, 2017, the State Court issued a prejudgment writ of attachment
(“Writ”) against all defendants.
       N.       On September 28, 2018, Comerica secured a judgment against Debtor, Ms.
Gonzales and the Trust in the amount of $1,120,658.30 (“Comerica Claim”). The judgment relates
back to the date of the Writ. The recording of an abstract of judgment against the Properties in the
amount of the Comerica Claim will result in a lien against the Properties in the amount of the
Comerica Claim (“Comerica Liens”).
                                          Bankruptcy Case
        O.      On November 8, 2017, Debtor filed a voluntary petition under Chapter 7 of Title 11
of the United States Code in the Central District of California, commencing Bankruptcy Case No.
2:17-bk-23812-BR. David M. Goodrich, was appointed the Chapter 7 Trustee of the Estate.
       P.       In his Schedule A/B, Debtor lists an ownership interest in: (1) the Mar Vista
Property with a scheduled value of $1,900,000; and (2) the Carnell Property with a scheduled value
of $700,000. According to Ms. Gonzales, a Schafer & Sons piano was located at the Mar Vista
Property (“Piano”) when she moved out. Recently, police reported that the Piano was stolen from
the Mar Vista Property. The Piano holds substantial sentimental value to the Gonzales family. The
approximate fair market value of the Piano is $3,000.
        Q.      Title to the Mar Vista Property and the Carnell Property is held in the name of the
Trust. Debtor and Ms. Gonzales are the sole trustees of the Trust.
        R.       The Trustee seeks to sell the Properties for the benefit of creditors. To that end, the
Trustee has negotiated a $100,000 carve-out from Bank of America (“BofA”), the first and second
priority lienholder on the Mar Vista Property. Pursuant to the carve-out (“BofA Agreement”), BofA
has also agreed to pay the 6% broker commission and all standard costs of sale, including title and
escrow fees, related to the sale of the Mar Vista Property. The Trustee has sought Court-approval of
the BofA Agreement.
       S.      On September 4, 2018, the Trustee and Ms. Gonzales entered into a settlement
agreement whereby Ms. Gonzales agreed to subordinate her priority domestic support obligation to
allowed administrative expenses of the Estate pursuant to 11 U.S.C. §507(a)(1)(C) in exchange for




4822-2707-9810, v. 1

                                                                                              Exhibit "6"
                                                                                               Page 80
 Case 2:17-bk-23812-BR            Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                  Main Document    Page 93 of 185
the release of certain claims of the Estate (“Subordination Agreement”). On November 16, 2018, the
Court entered an order granting the Subordination Agreement.
        T.      The Trustee recently retained Clarence Yoshikane of Pacific / Sotheby’s
International Realty (“Mr. Yoshikane”) as real estate broker to market and sell the Carnell Property.
Mr. Yoshikane has agreed to a reduced broker commission of 5%.
          U.    The Trustee believes the fair market value of the Mar Vista Property is
approximately $1,800,000. The Trustee believes the fair market value of the Carnell Property is
approximately $600,000. The following charts reflect that the proceeds available to the various
junior lienholders do not change as a result of issues of cross-collateralization. As such, there are no
marshaling issues that arise based on which property sells first. Based on the above facts, the equity
available to pay the Fox Firm Claim and the other secured claims are as follows:
                                              Total Sales Proceeds
         Mar Vista Property value                        $1,800,000
         Carnell Property value                          $ 600,000
         Total                                           $2,400,000

                                      Total Equity to Pay Other Liens
         Total Sales Proceeds                            $2,400,000
         BofA First Priority Lien on Mar Vista           ($ 455,802)
         BofA Second Priority Lien on Mar Vista          ($ 715,745)
         PHH First Priority Lien on Carnell              ($ 126,813)
         Costs of Sale related to Mar Vista              ($        0) – To be paid by BofA
         5% Commission to Carnell Broker                 ($ 30,000)
         1% Costs of Carnell Sale                        ($    6,000)
         Total to Left to Pay Other Liens                $1,065,640


       V.      To facilitate the sale of the Properties, and to ensure the Estate receives a
benefit from such sales, Comerica agrees to carve-out $150,000 from the Comerica Liens for
the benefit of the Estate.
       W.      Comerica disputes the validity, priority, and extent of the Fox Liens. As such,
Comerica has agreed to challenge, litigate, and attempt to fully liquidate the Fox Claim and
alleged Fox Liens resulting therefrom. The Trustee will retain settlement authority with
respect to such litigation, but the litigation must result in dismissal or resolution of Fox Case
(which may include some payment on the Fox Claim) that does not result in any monetary
obligations of Ms. Gonzales to the Fox Firm.




4822-2707-9810, v. 1

                                                                                              Exhibit "6"
                                                                                               Page 81
 Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                   Desc
                                Main Document    Page 94 of 185
       X.      Taking into account the carveout set forth in the BofA Agreement, the Estate
will net $250,000 from the sale of the Properties.
         Y.       To ensure that the Estate receives funds from sales of the Properties, the Parties
enter into this global settlement providing for, inter alia: (1) allowance of the Comerica Claim; (2) a
carve-out and assignment to the Estate of funds otherwise subject to the Comerica Liens; (3) full
liquidation of the Fox Claim; (4) waiver of the Gretel Abstract; (5) consent to sales free and clear of
alleged liens and encumbrances; and (6) Debtor’s and Ms. Gonzales’ waiver and release of their right, if
any, to claim an exemption in the Properties and/or the proceeds from the sales of the Properties.

                                   II. SETTLEMENT TERMS
      In consideration of the Recitals above and the mutual promises contained in this
Agreement, and for other good and valuable consideration, the receipt and adequacy of which are
acknowledged, the Parties agree, covenant, and represent as follows subject to approval by the
Bankruptcy Court in Debtor’s case:
         1.     Incorporation of Recitals. The Parties incorporate the Recitals above as though
fully set forth here, and the Recitals are made part of this Agreement.
        2.     Trust Revocation. With respect to the Properties, the Trust is revoked and all
real properties owned or held by the Trust constitute property of the Estate.
         3.      Carve-Out by Comerica. Comerica has agreed to a carve-out and assignment to the
Estate of funds otherwise subject to its Liens as follows:
               a.      The carve-out is only for the benefit of allowed administrative claims and
         unsecured creditors of the Estate; and
                 b.      Comerica agrees to a $150,000 carve-out for the benefit of creditors of
         the Estate. From the carved-out funds, the Trustee will pay claims according to the
         priorities set forth in 11 U.S.C. § 726 and pursuant to the Subordination Agreement.
       3.       Allowance of Comerica Claim. For purposes of this Agreement, the Comerica
Claim shall be deemed allowed and the Comerica Liens deemed valid.
        4.      Sale Free and Clear of Comerica Liens. Comerica consents to the sale of the
Properties free and clear of the Comerica Liens, with such liens to attach to the sales proceeds to
the extent applicable and as set forth in this Agreement.
         5.      Sale Free and Clear of Disputed Liens. To the extent the Fox Liens and FH
Abstract (collectively, the “Disputed Liens”) are not fully liquidated and/or resolved prior to the
sale of the Properties, the Trustee shall seek a sale free and clear of the Disputed Liens, with such
liens to attach to the sales proceeds to the extent applicable.
         6.      Abandonment of Piano. The Trustee, on behalf of the Estate, abandons the Estate’s
interest, if any, in the Piano pursuant to 11 U.S.C. § 554(a).
         7.     Waiver and Release of Gretel Abstract and any Resulting Lien. Ms. Gonzales
waives and releases any and all liens in her favor against the Properties including, but not limited
to, any liens resulting from the Gretel Abstract. Concurrent with execution of this Agreement, Ms.




4822-2707-9810, v. 1

                                                                                              Exhibit "6"
                                                                                               Page 82
 Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                Main Document    Page 95 of 185
Gonzales shall sign and notarize the Withdrawal of Abstract of Judgment and Release of Lien
(“Release”). The Trustee is authorized to cause the Release to be recorded upon both: (a) entry of
an order granting this Agreement; and (b) dismissal or resolution of the Fox Case that results in
no out of pocket costs to Ms. Gonzales.
          8.     Defense of Fox Case and Liquidation of Fox Claim. Comerica shall challenge,
litigate, and attempt to fully liquidate the Fox Claim and the Fox Liens allegedly resulting
therefrom (“Comerica/Fox Litigation”). Comerica shall either intervene in the Fox Case as a party
in interest or have its counsel associate into the Fox Case as counsel for Ms. Gonzales. The
Comerica/Fox Litigation will occur in any forum required to fully liquidate the Fox Claim and
Fox Liens, including the State Court. The Comerica/Fox Litigation must result in dismissal or a
complete resolution of the Fox Case that does not result in any monetary obligations owed to the
Fox Firm by Ms. Gonzales. The Fox Claim must be fully liquidated, which may include some
payment on the Fox Claim.
        9.      Trustee Cooperation. The Trustee will cooperate and provide strategic assistance to
Comerica in furtherance of the Comerica/Fox Litigation. To the extent necessary or substantially
beneficial, the Trustee will join Comerica’s pleadings and appear at hearings related to the
Comerica/Fox Litigation.
        10.    Settlement Authority. The Trustee shall retain all settlement authority with respect
to the Comerica/Fox Litigation. If the Trustee and Comerica reach an impasse regarding
settlement, then the Trustee may file a compromise motion and Comerica may oppose the motion.
         11.     Consent to Sale and Waiver of Claim of Exemption. Debtor and Ms. Gonzales, in
their individual capacities and as trustees of the Trust (collectively, the Gonzales Parties”),
consent to the sale of the Properties under the terms set forth herein. The Gonzales Parties waive
and release their respective rights, if any, to claim exemptions in the Properties, the proceeds from
the sales of the Properties, or the carve-outs.
         12.    Payment from Escrow: The Parties shall provide a copy of this Agreement to the escrow
companies assisting with the sales of the Properties and shall instruct each respective escrow to pay
all net proceeds to the Trustee directly from the escrow account opened for each respective sale.
No funds shall be disbursed on account of the proposed carve-out, the Comerica Claim, or the
Disputed Liens until the sales of both Properties close, the Disputed Liens are resolved, and the
Trustee determines that sufficient funds are available for the proposed carve-outs to provide a net
benefit to the Estate.
        13.     Trustee’s Capacity. The Trustee is signing this Agreement in his capacity solely as
Chapter 7 trustee of the bankruptcy estate of Debtor. Nothing contained in this Agreement shall in any
way impute liability to the Trustee, personally or as a member of any professional organization or
anyone acting on his behalf.
         14.    Admissions. If this Agreement fails to become effective for any reason or is otherwise
not fully consummated, nothing in this Agreement shall bind the Parties or constitute an admission by
the Parties.
        15.     Authority. The signatories to this Agreement acknowledge that they have the authority
and have obtained the requisite approval to enter this Agreement and to act on behalf of and bind any




4822-2707-9810, v. 1

                                                                                            Exhibit "6"
                                                                                             Page 83
 Case 2:17-bk-23812-BR          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                  Desc
                                Main Document    Page 96 of 185
entity on whose behalf they are signing.
        16.     Representation by Counsel. The Parties further represent that they have been
represented by legal counsel or have had the opportunity to seek advice of legal counsel during
the course of the negotiations leading to the signing of this Agreement and that they have been
advised by legal counsel with respect to the meaning of this Agreement and its legal effect.
        17. No Partnership or Joint Venture: Nothing in this Agreement is intended to be
construed as or to create a partnership or joint venture between the parties.
        18.    Brokerage Commissions and Expenses of Sale: The Parties acknowledge that
brokerage commissions and costs of sale are administrative expenses subject to allowance by the
court and to be paid before distributions are made to unsecured creditors. However, BofA has
agreed to pay all brokerage commissions and costs of sale related to the sale of the Mar Vista
Property.
         19. Integration. This Agreement constitutes an integrated written contract expressing
the entire agreement of the Parties. Other than this Agreement there is no other agreement,
written or oral, express or implied, between the Parties with respect to this subject matter.
         20. Modification or Amendment. This Agreement cannot be orally modified or
amended. This Agreement may be modified or amended only by a written agreement signed by
all Parties.
        21.    Counterparts. This Agreement may be executed in counter-parts, including
facsimile and email signatures, with the same effect as if all original signatures were placed on
one document and all of which together shall be one and the same agreement.
         22. Binding Agreement. This Agreement is and shall be binding upon and shall inure
to the benefit of the heirs, assigns, principals, and successors of all of the Parties.
         23.    Interpretive Law. This Agreement is made and entered into in the State of
California and shall, in all respects be interpreted, enforced, and governed by and under the laws
of the State of California and the United States Bankruptcy Code as applied in the Ninth Circuit.
         24. Ambiguities. This Agreement has been reviewed by the Parties and their
respective counsel. Further, the Parties have had full opportunity to negotiate the terms and
conditions of this Agreement. Accordingly, the Parties expressly waive any common-law or
statutory rule of construction that ambiguities should be construed against the drafter, and agree,
covenant, and represent that the language in all parts of this Agreement shall be in all cases
construed as a whole, according to its fair meaning.
          25.     Miscellaneous Provisions.
               a.       The Parties represent that they have read this Agreement and fully
understand all of its terms; that they have conferred with or had the opportunity to confer with
their attorneys about this Agreement; that they have executed this Agreement without coercion
or duress of any kind; and that they understand any rights that they have or may have and sign
this Agreement with full knowledge of any such rights.




4822-2707-9810, v. 1

                                                                                             Exhibit "6"
                                                                                              Page 84
 Case 2:17-bk-23812-BR      Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52           Desc
                            Main Document    Page 97 of 185
             b.     The Parties acknowledge that, other than as expressly set forth in this
Agreement, no representations, statements or promises made by the other Party, or by their
respective agents or attorneys, have been relied on in entering into this Agreement.


///
///
///
///
///
///
///
///
///
///
///




4822-2707-9810, v. 1

                                                                                  Exhibit "6"
                                                                                   Page 85
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 98 of 185




                                                                      Exhibit "6"
                                                                       Page 86
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document    Page 99 of 185




                                                                      Exhibit "6"
                                                                       Page 87
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 100 of 185




                                                                      Exhibit "6"
                                                                       Page 88
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 101 of 185




                                                                      Exhibit "6"
                                                                       Page 89
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 102 of 185




                                                                      Exhibit "6"
                                                                       Page 90
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 103 of 185




                                                        Í
                                                        ½¿²
                                                          ²»¼¾
                                                             §Ý¿
                                                               ³Í½
                                                                 ¿²²
                                                                   »®
                                                                      Exhibit "6"
                                                                       Page 91
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 104 of 185




                                                                      Exhibit "6"
                                                                       Page 92
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 105 of 185




                         Exhibit 7
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 106 of 185




                                                                      Exhibit "7"
                                                                       Page 93
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 107 of 185




                                                                      Exhibit "7"
                                                                       Page 94
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 108 of 185




                                                                      Exhibit "7"
                                                                       Page 95
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 109 of 185




                                                                      Exhibit "7"
                                                                       Page 96
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 110 of 185




                                                                      Exhibit "7"
                                                                       Page 97
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 111 of 185




                                                                      Exhibit "7"
                                                                       Page 98
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 112 of 185




                                                                      Exhibit "7"
                                                                       Page 99
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 113 of 185




                                                                      Exhibit "7"
                                                                      Page 100
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 114 of 185




                                                                      Exhibit "7"
                                                                      Page 101
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 115 of 185




                                                                      Exhibit "7"
                                                                      Page 102
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 116 of 185




                                                                      Exhibit "7"
                                                                      Page 103
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 117 of 185




                                                                      Exhibit "7"
                                                                      Page 104
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 118 of 185




                                                                      Exhibit "7"
                                                                      Page 105
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 119 of 185




                                                                      Exhibit "7"
                                                                      Page 106
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 120 of 185




                                                                      Exhibit "7"
                                                                      Page 107
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 121 of 185




                                                                      Exhibit "7"
                                                                      Page 108
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 122 of 185




                                                                      Exhibit "7"
                                                                      Page 109
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 123 of 185




                                                                      Exhibit "7"
                                                                      Page 110
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 124 of 185




                                                                      Exhibit "7"
                                                                      Page 111
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 125 of 185




                                                                      Exhibit "7"
                                                                      Page 112
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 126 of 185




                                                                      Exhibit "7"
                                                                      Page 113
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 127 of 185




                                                                      Exhibit "7"
                                                                      Page 114
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 128 of 185




                                                                      Exhibit "7"
                                                                      Page 115
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 129 of 185




                                                                      Exhibit "7"
                                                                      Page 116
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 130 of 185




                                                                      Exhibit "7"
                                                                      Page 117
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 131 of 185




                                                                      Exhibit "7"
                                                                      Page 118
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 132 of 185




                                                                      Exhibit "7"
                                                                      Page 119
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 133 of 185




                                                                      Exhibit "7"
                                                                      Page 120
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 134 of 185




                                                                      Exhibit "7"
                                                                      Page 121
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 135 of 185




                                                                      Exhibit "7"
                                                                      Page 122
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 136 of 185




                         Exhibit 8
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 137 of 185




                                                                      Exhibit "8"
                                                                      Page 123
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 138 of 185




                                                                      Exhibit "8"
                                                                      Page 124
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 139 of 185




                                                                      Exhibit "8"
                                                                      Page 125
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 140 of 185




                                                                      Exhibit "8"
                                                                      Page 126
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 141 of 185




                                                                      Exhibit "8"
                                                                      Page 127
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 142 of 185




                                                                      Exhibit "8"
                                                                      Page 128
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 143 of 185




                                                                      Exhibit "8"
                                                                      Page 129
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 144 of 185




                                                                      Exhibit "8"
                                                                      Page 130
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 145 of 185




                                                                      Exhibit "8"
                                                                      Page 131
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 146 of 185




                                                                      Exhibit "8"
                                                                      Page 132
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 147 of 185




                                                                      Exhibit "8"
                                                                      Page 133
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 148 of 185




                                                                      Exhibit "8"
                                                                      Page 134
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 149 of 185




                                                                      Exhibit "8"
                                                                      Page 135
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 150 of 185




                                                                      Exhibit "8"
                                                                      Page 136
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 151 of 185




                                                                      Exhibit "8"
                                                                      Page 137
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 152 of 185




                                                                      Exhibit "8"
                                                                      Page 138
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 153 of 185




                                                                      Exhibit "8"
                                                                      Page 139
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 154 of 185




                                                                      Exhibit "8"
                                                                      Page 140
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 155 of 185




                                                                      Exhibit "8"
                                                                      Page 141
Case 2:17-bk-23812-BR   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                        Main Document   Page 156 of 185




                         Exhibit 9
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 157 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 142
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 158 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 143
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 159 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 144
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 160 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 145
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 161 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 146
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 162 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 147
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 163 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 148
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 164 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 149
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 165 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 150
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 166 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 151
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 167 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 152
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 168 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 153
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 169 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 154
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 170 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 155
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 171 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 156
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 172 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 157
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 173 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 158
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 174 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 159
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 175 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 160
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 176 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 161
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 177 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 162
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 178 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 163
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 179 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 164
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 180 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 165
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 181 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 166
         Case 2:17-bk-23812-BR                          Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52   Desc
                                                        Main Document   Page 182 of 185
ß«¬¸»²¬·-·¹² ×Üæ ïÛððÞêßîóéìçéóìÚßÜóßßêìóééêêïìéëììíÝ




                                                                                                      Exhibit "9"
                                                                                                      Page 167
         Case 2:17-bk-23812-BR                   Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                       Desc
                                                 Main Document   Page 183 of 185
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: TRUSTEE’S MOTION FOR ORDER: 1. APPROVING
SUBORDINATION AGREEMENT BETWEEN THE TRUSTEE AND BANK OF AMERICA; 2. APPROVING
COMPROMISE BETWEEN TRUSTEE AND COMERICA BANK; AND 3. AUTHORIZING SALE OF REAL PROPERTY
(A) OUTSIDE THE ORDINARY COURSE OF BUSINESS; (B) FREE AND CLEAR OF LIENS, CLAIMS, AND
ENCUMBRANCES; (C) SUBJECT TO OVERBID; AND (D) FOR DETERMINATION OF GOOD FAITH PURCHASER
UNDER 11 U.S.C. §363(M); MEMORANDUM OF POINTS OF AUTHORITIES; DECLARATIONS OF DAVID M.
GOODRICH AND ROGELIO SANCHEZ IN SUPPORT will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 16,
2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On July 16, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                             U.S. TRUSTEE                                        BUYERS
 BENJAMIN W GONZALES                                UNITED STATES TRUSTEE (LA)                          RAUL RUIZ AND BLANCA RUIZ
 P.O. BOX 1530                                      915 WILSHIRE BLVD, SUITE 1850                       7130 HOGEE DR
 LOS ANGELES, CA 90001                              LOS ANGELES, CA 90017                               PARAMOUNT, CA 90723

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 16, 2021, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

VIA OVERNIGHT MAIL: PRESIDING JUDGE’S COPY
HONORABLE BARRY RUSSELL
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
EDWARD R. ROYBAL FEDERAL BUILDING AND COURTHOUSE
255 E. TEMPLE STREET, SUITE 1660 / COURTROOM 1668
LOS ANGELES, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  July 16, 2021                  Chanel Mendoza                                                  /s/ Chanel Mendoza
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
        Case 2:17-bk-23812-BR                    Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                       Desc
                                                 Main Document   Page 184 of 185
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR CREDITOR BMW BANK OF NORTH AMERICA, C/O AIS PORTFOLIO SERVICES, LP:
       Bhagwati Barot bbarot@aissolution.com
     ATTORNEY FOR CREDITOR/PLAINTIFF COMERICA BANK: Jennifer Witherell Crastz jcrastz@hrhlaw.com
     ATTORNEY FOR CREDITOR/PLAINTIFF COMERICA BANK: Christopher D Crowell ccrowell@hrhlaw.com
     CREDITOR BANK OF AMERICA, N.A.: Joseph C Delmotte ecfcacb@aldridgepite.com,
       JCD@ecf.inforuptcy.com; jdelmotte@aldridgepite.com
     INTERESTED PARTY COURTESY NEF: Howard M Ehrenberg hehrenberg@sulmeyerlaw.com,
       hehrenberg@ecf.inforuptcy.com; mviramontes@ecf.inforuptcy.com
     INTERESTED PARTY ANDY EPSTEIN: Andy J Epstein taxcpaesq@gmail.com
     CREDITOR FRANK O FOX AND DEFENDANT THE LAW FIRM OF FOX AND FOX: Frank O Fox
       frank@foxandfox.com
     TRUSTEE DAVID M GOODRICH (TR): David M Goodrich (TR) dgoodrich@wgllp.com, c143@ecfcbis.com;
       dgoodrich11@ecf.axosfs.com; lrobles@wgllp.com
     ATTORNEY FOR TRUSTEE DAVID M GOODRICH (TR): Chad V Haes chaes@marshackhays.com,
       chaes@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com; cmendoza@marshackhays.com;
       kfrederick@ecf.courtdrive.com
     ATTORNEY FOR TRUSTEE DAVID M GOODRICH (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ACCOUNTANT SAM S LESLIE: Sam S Leslie admin@leaaccountancy.com
     ATTORNEY FOR TRUSTEE DAVID M GOODRICH (TR): Laila Masud lmasud@marshackhays.com,
       lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR DEBTOR BENJAMIN W GONZALES: James R Selth jim@wsrlaw.net, jselth@yahoo.com;
       brian@wsrlaw.net; vinnet@ecf.inforuptcy.com
     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     UNITED STATES TRUSTEE (LA): United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
     ATTORNEY FOR DEBTOR BENJAMIN W GONZALES: Daniel J Weintraub dan@wsrlaw.net,
       vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; eduardo@wsrlaw.net
     ATTORNEY FOR CREDITOR BONIAL & ASSOCIATES, P.C. – PHH: Gilbert R
       Yabes ecfcacb@aldridgepite.com, GRY@ecf.inforuptcy.com; gyabes@aldridgepite.com
     ATTORNEY FOR CREDITOR GRETEL GONZALES: Jasmin Yang jasmin.yang@usdoj.gov,
       USACAC.CIVIL@usdoj.gov

2. SERVED BY UNITED STATES MAIL: CONTINUED:
 RTD 01/18/18 UTF              SECURED CREDITOR                                                             SECURED CREDITOR
 SECURED CREDITOR              BANK OF AMERICA                                                              COMERICA BANK
 BANK OF AMERICA               P.O. BOX 31785                                                               35 NORTH LAKE AVE., SUITE 120
 P.O. BOX 15184                TAMPA, FL 33631-3785                                                         PASADENA, CA 91101-1892
 WILMINGTON, DE 19850-5184

 SECURED CREDITOR / POC                            SECURED CREDITOR / POC ADDRESS                           INTERESTED PARTY
 ADDRESS                                           LAW FIRM OF FOX AND FOX                                  ALL OCCUPANTS OF 14930 MAR
 COMERICA BANK                                     4262 WILSHIRE BLVD, THIRD FLOOR                          VISTA ST
 JENNIFER WITHERELL CRASTZ,                        LOS ANGELES, CA 90010                                    14930 MAR VISTA ST
 ESQ. / HEMAR, ROUSSO & HEALD,                                                                              WHITTIER, CA 90605
 LLP
 15910 VENTURA BLVD., 12TH
 FLOOR
 ENCINO, CA 91436-2802




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
        Case 2:17-bk-23812-BR                    Doc 263 Filed 07/20/21 Entered 07/20/21 19:16:52                                       Desc
                                                 Main Document   Page 185 of 185
 CREDITOR                                          CREDITOR / POC ADDRESS
 GRETEL GONZALES                                   GRETEL GONZALES
 WILLIAM T. KERMISCH                               28346 CAMILE DEL RIO
 12711 VENTURA BLVD., SUITE 200                    SAN JUAN CAPISTRANO, CA 92675
 STUDIO CITY, CA 91604-2434




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
